Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 1 of 91 Page ID #:1



 1   LAW OFFICES OF JAMES F. HOLTZ
     A Professional Corporation
 2   James F. Holtz, Esq. (SBN 95064)
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 3   Justin C. Manganiello, Esq. (SBN 292526)
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 4   16935 West Bernardo Drive, Suite 170
     San Diego, California 92127
 5   Telephone: (619) 881-1246
     Facsimile: (619) 924-5199
 6
     Attorneys for Defendant
 7   COSTCO WHOLESALE CORPORATION
 8

 9                         UNITED STATES DISTRICT COURT
10                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
11   MONICA LACOMBE,                               Case No.: 5:20-cv-2486
12                Plaintiff(s),                    NOTICE OF REMOVAL OF
                                                   ACTION UNDER 28 U.S.C. §
13          v.                                     1441(b) (DIVERSITY)
14   COSTCO WHOLESALE
     CORPORATION d/b/a COSTCO
15   WHOLESALE; and DOES 1-50,
     inclusive,
16
                  Defendant(s).
17

18   TO THE CLERK OF THE ABOVE-ENTITLED COURT:
19         PLEASE      TAKE       NOTICE    that    Defendant   COSTCO      WHOLESALE
20   CORPORATION hereby removes to this Court the state court action described below.
21         1.    On June 1, 2020, an action was commenced in the Riverside Superior
22   Court, entitled MONICA LACOMBE, an individual, v. COSTCO WHOLESALE
23   CORPORATION, and DOES 1 through 50, inclusive, as Case No: MCC2000853. A
24   copy of the Complaint is attached hereto as “Exhibit A.”
25   ///
26   ///
27   ///
28                                1
           NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b)
                             (DIVERSITY)
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 2 of 91 Page ID #:2



 1         1.     Defendant COSTCO WHOLESALE CORPORATION received a copy of
 2   said complaint on June 15, 2020, when its agent accepted service of said complaint and
 3   a summons on its behalf. A copy of the proofs of service of process, summons, notice
 4   of availability of counsel, plaintiff’s and defendant’s demand for and notice of deposit
 5   of jury fees, case management conference statements, clerk’s certificate of mailing, and
 6   civil case cover sheet filed in state court are attached hereto as “Exhibit B.”
 7         2.     On August 6, 2020, COSTCO WHOLESALE CORPORATION filed an
 8   Answer to Plaintiff’s Complaint attached as “Exhibit C.”
 9         3.     This is a civil action of which this Court has original jurisdiction under
10   28 U.S.C. § 1332, and is one which may be removed to this Court by Defendant
11   pursuant to the provisions of 28 U.S.C. § 1441(b) in that it is a civil action between
12   citizens of different states and the matter in controversy exceeds the sum of $75,000,
13   exclusive of interest and costs.
14         4.     Plaintiff’s Complaint alleges that she is a citizen of the state of California.
15   Defendant COSTCO WHOLESALE CORPORATION was at the time of filing this
16   action, and still is, a corporation incorporated under the laws of the State of Washington,
17   having its principal place of business at Issaquah, Washington.
18         5.     Plaintiff did not file a statement of damages nor did she provide a specific
19   monetary demand within her Complaint. However, in her discovery responses Plaintiff
20   alleges 17 separate injuries or types of pain: right hand pain, right wrist pain, back pain,
21   neck pain, right shoulder pain, upper arm pain, right elbow pain, numbness and tingling
22   in her right arm, three separate bulges in spinal vertebrae, decreased range of motion,
23   radiculopathy, radiating pain, loss of strength and flexibility, suffering, and emotional
24   distress. (Exhibit D, Resp. No. 6.3). Plaintiff further indicated in her responses that she
25   has treated with at least 10 separate medical providers. (Exhibit D, Resp. No. 6.4.)
26   Plaintiff also indicates she intends to have neck surgery to perform an artificial disc
27   replacement of the C6-7 and anterior cervical discectomy and fusion at C6-7. (Exhibit
28                                2
           NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b)
                             (DIVERSITY)
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 3 of 91 Page ID #:3



 1   D, Resp. No. 6.6-6.7.) A true and correct copy of Plaintiff’s written discovery response
 2   is attached as “Exhibit D.”
 3         6.     Plaintiff has provided only some of her billing for past medical treatment
 4   which totals approximately $17,100. A copy of the medical bills provided to date is
 5   attached as Exhibit E.
 6         7.     Plaintiff has provided an estimate for the costs of her future neck surgery
 7   ($5,600) which does not include the costs for anesthesia or hospital services. A copy
 8   of the surgical estimate is attached as Exhibit F.
 9         8.     Plaintiff claims her pain is constant, serious, and ongoing and as a result it
10   is likely Plaintiff will claim additional medical expenses.
11         9.     These totals do not include any pain and suffering damages or loss of
12   income or earning capacity, which Plaintiff has alleged in her Complaint.
13         10.    Due to the seriousness of the claimed injuries, their continuing nature, the
14   number of claimed injuries, the number of claimed medical providers, and the claims
15   for pain and suffering, it is reasonable to conclude that the amount in controversy
16   exceeds $75,000.
17   ///
18   ///
19   ///
20   ///
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28                                3
           NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b)
                             (DIVERSITY)
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 4 of 91 Page ID #:4



 1         11.   The date upon which there was complete diversity between plaintiff and
 2   defendant is the date of filing on August 6, 2020. Pursuant to Harris v. Bankers Life &
 3   Cas. Co. (9th Cir. 2005) 425 F.3d 689, 694, and 28 U.S.C. § 1446(c)(3)(A), the date
 4   upon which COSTCO WHOLESALE CORPORATION was put on notice that the
 5   amount in controversy exceeds $75,000 was November 3, 2020 when COSTCO
 6   WHOLESALE CORPORATION received Plaintiff’s discovery responses. Further, less
 7   than one year has passed since commencement of the action as required by 28 U.S.C. §
 8   1446(b). Thus, the matter is now removable to federal court.
 9

10   Dated: November 30, 2020                   LAW OFFICES OF JAMES F. HOLTZ
11
                                                A Professional Corporation

12
                                                By: /s/ James F. Holtz
13                                                  James F. Holtz, Esq.
                                                     james.holtz@holtzapc.com
14                                                  Justin C. Manganiello, Esq.
                                                     justin.manganiello@holtzapc.com
15                                             Attorneys for Defendant
                                               COSTCO WHOLESALE CORPORATION
16

17

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19

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28                                4
           NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b)
                             (DIVERSITY)
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 5 of 91 Page ID #:5



 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that on November 30, 2020, I served a true and correct copy of
 3   the above and foregoing NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C.
 4   § 1441(b) (DIVERSITY) via U.S. Mail by depositing in the United States Postal
 5   Service mail box at 16935 West Bernardo Drive, Suite 170, San Diego, California
 6   92127, in a sealed envelope with postage thereon fully prepaid and addressed as
 7   follows:
 8

 9   Jacob L. Stipp, Esq.                          Counsel for Plaintiff
10
     Shelley B. Fessinger, Esq.                    MONICA LACOMBE
     STIPP LAW FIRM
11   2333 State Street, Suite 205
12
     Carlsbad, CA 92008
     Tel (760) 994-0480
13   Fax (760) 994-0563
14   Jake@Stipplawfirm.com

15
           I declare under penalty of perjury under the laws of the United States of America
16
     that the above is true and correct. Executed on November 30, 2020, at San Diego,
17
     California.
18

19                                                      /s/ James F. Holtz
                                                        James F. Holtz
20

21

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           NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b)
                             (DIVERSITY)
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 6 of 91 Page ID #:6




                 EXHIBIT A




                 EXHIBIT A

                                     6
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 7 of 91 Page ID #:7




 1   Jacob L. Stipp, Esq. (SBN 282338)
     Shelley B. Fessinger, l:sq. (SBN 163020)
 2   STIPP LAW FIRM
     2333 State Street, Suite 205                                                   FILED
                                                                               Superior Court of California
 3   Carlsbad, CA 92008                                                           County of Riverside
     Telephone: (760) 994-0480                                                          6/1/2020
 4   Facsimile: (760) 994-0563                                                      P. Thiphavong
                                                                                   Electronically Filed
 5
     Attorneys for Plaintiff MONICA LACOMBE
 6
 7
 8
 9                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
10                                      COUNTY OF RIVERSIDE

11   MONICA LACOMBE,                            ) cAsE No. _M_c_c_2_ooo   _ s_ _s_J_
12                                              )
                     Plaintiff,                 ) COMPLAINT FOR DAMAGES
13                                              )
               vs.                              )   1. Negligence
14                                              )   2. Premises Liability
     COSTCO WHOLESALE                           )
15
     CORPORATION d/b/a COSTCO                   )
16   WHOLESALE; and DOES 1-50,                  )
     inclusive,                                 )
17                                              )
18                                              )
                     as Defendants.             )
19   ______________                             )
20             Plaintiff MONICA LACOMBE alleges the following based upon personal knowledge as
21
     to her own acts, and on information and belief as to all other matters.
22
                                      GENERAL ALLEGATIONS
23
               1.    At all times mentioned herein, Plaintiff MONICA LACOMBE ("Plaintiff') was
24
     and still is a resident of the County of Riverside, State of California, and a citizen of the United
25
     States.
26
               2.    Plaintiff has been informed and believes and thereon alleges that at all times
27
     mentioned herein, defendant COSTCO WHOLESALE CORPORATION d/b/a COSTCO
28
     WHOLESALE ("COSTCO" or "Defendant"); and DOES 1-50 was and is a corporation,
                                                        -1-

                                        COMPLAINT FOR DAMAGES


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Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 8 of 91 Page ID #:8




 1   partnership,joint venture, or other business entity duly organized and existing under and by virtue

 2   of the laws of the State of Washington or some other state with its principal place of business

 3   located at 999 Lake Drive, Issaquah, WA 98027.

 4           3.     Plaintiff is informed and believes and thereon alleges that at all times material

 5   hereto and mentioned herein, each defendant sued herein was the owner, agent, servant, employer,

 6   joint venturer, partner, subsidiary, alias, and/or alter ego of each of the remaining defendants sued

 7   herein and was, at all times, acting within the purpose and scope of such employment, agency,

 8   servitude, ownership, subsidiary, alias and/or alter ego and with the authority, consent, approval,

 9   control, influence and ratification of each of the remaining defendants sued herein.

10           4.     Defendants DOES 1 through 50, inclusive, are sued herein under fictitious names.

11   Their true names and capacities are unknown to plaintiff. When their true names and capacities

12   are ascertained, plaintiff will amend this complaint by inserting their true names and capacities.

13   Plaintiff is informed and believes and thereon alleges that each of the fictitiously named

14   defendants is responsible in some manner for the occurrences herein alleged, and that plaintiffs

15   damages were proximately caused by those defendants. Each reference in this complaint to

16   "defendant," "defendants," or a specifically named defendant refers also to all defendants sued

17   under fictitious names.

18           5.     Plaintiff has been informed and believes and thereon alleges that at all times

19   mentioned herein, Defendants COSTCO and DOES 1-50 owned operated, leased, possessed,

20   maintained and/or controlled the premises located at or around 26610 Ynez Road, Temecula, CA

21   92591 ("Subject Premises").

22           6.     Plaintiff has been informed and believes and thereon alleges that DOES 1-50,

23   inclusive, are liable in some manner, either by act or omission, negligence, negligence per se, res

24   ipsa loquitor, respondeat superior, employment, agency, breach of statute, or otherwise, for the

25   occurrences herein alleged, and that their injuries, loss, and damages as herein alleged were

26   legally caused by the conduct of DOES 1-50.

27           7.     Plaintiff has been informed and believes and thereon alleges that all of the events,

28   which contributed to the injuries and damages they sustained occurred within the venue of this
                                                      -2-

                                         COMPLAINT FOR DAMAGES


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Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 9 of 91 Page ID #:9




 1   Honorable Court and the relief sought through this Civil Complaint is in excess of $25,000.00,

 2   the jurisdictional minimum of this Court.

 3                          FACTS RELEVANT TO ALL CAUSES OF ACTION
 4            8.    On or about July 22, 2018, MONICA LACOMBE was an invitee and patron of

 5   Defendants at the Subject Premises to purchase items. That day she was in the Subject Premises

 6   at which time she slipped and fell upon water generated by an employee operating a floor scrubber

 7   machine on the aisleway during open business hours.

 8            9.    Unbeknownst to Plaintiff, Defendants created the dangerous condition and also

 9   failed to maintain the Subject Premises in a reasonably safe condition by operating a floor

10   scrubber machine during open business hours with patrons and guests in close proximity, failing

11   to warn patrons and guests of the water on the floor being generated by the floor scrubber

12   machine, failing to rope off the area and/or aisle while the employee was operating the floor

13   scrubber machine, and failing to warn their invitees, guests and patrons, including Plaintiff

14   MONICA LACOMBE that the aisleway was unsafe to walk upon.

15            10.   As a result of Plaintiffs fall, Plaintiff suffered serious and permanent injuries,

16   including physical, mental and emotional pain and suffering.

17            11.   MONICA LACOMBE's fall injuries were the direct and proximate result of

18   Defendants' negligence and numerous failures. Her injuries, subsequent treatment, and continued

19   physical injury, pain, suffering and emotional distress were the direct and proximate result of

20   Defendants' negligently creating the dangerous condition and failures to ensure that the Subject
21   Premises was safe for its customers, patrons and invitees, including, MONICA LACOMBE. As

22   a result, MONICA LACOMBE brings suit against Defendants and DOES 1-50, as plead herein

23   below.

24                                    FIRST CAUSE OF ACTION
25                  (Negligence Against COSTCO WHOLESALE and DOES 1-50)
26            12.   Plaintiff realleges as though fully set forth and incorporates herein by reference,

27   paragraphs 1 through 11 as though fully set forth within.

28
                                                     -3-

                                       COMPLAINT FOR DAMAGES


                                                 9
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 10 of 91 Page ID #:10




  1           13.     Defendants COSTCO and DOES 1-50, as property owners, lessees, operators

  2   maintenance, managers, controllers and/or occupants of the Subject Premises, owed a duty t

  3   maintain the Subject Premises in a reasonably safe condition, repair any dangerous conditions

  4   warn Plaintiff and other customers of dangerous conditions, and otherwise exercise reasonabl

  5   care in such ownership, maintenance, operation, control, repair, supervision, management an

  6   occupation, so as not to expose their customers, invitees and patrons, including Plaintiff, t

  7   unreasonable risks of harm.

  8           14. Despite such duties owed by defendants COSTCO and DOES 1-50, including thos

  9   duties owed to Plaintiff MONICA LACOMBE, defendants COSTCO and DOES 1-50 breache

 10   said duties by: (1) failing to maintain the Subject Premises in a reasonably safe condition; (2

 11   negligently operating the floor scrubber machine during open store hours; (3) failing to w

 12   Plaintiff of the danger presented by the water on the floor that was generated by the floor scrubbe

 13   machine; (4) failing to rope off the area and/or aisle while operating the floor scrubber machine·

 14   (5) failing to put up warning signs; and (6) failing to otherwise exercise due care with respect t

 15   the matters alleged in this complaint.
 16           15.    These breaches occurred despite the fact that defendants knew, or in the exercise o

 17   reasonable care should have known that the Subject Premises, and specifically the ladder on sale

 18   floor, posed an unreasonable risk of harm to patrons and invitees of the Subject Premises, includin

 19           16.     As a direct and proximate result of the negligence of defendants COSTCO an

 20   DOES 1-50 as set forth above, Plaintiff MONICA LACOMBE slipped and fell to the ground
 21   sustaining personal injuries including physical injury, pain, suffering and emotional distress. Sh

 22   continues to suffer from said conditions and symptoms. Defendants COSTCO and DOES 1-50'
 23   conduct was a direct and substantial factor in causing her harm. As a proximate result of th

 24   negligent conduct of defendants COSTCO and DOES 1-50 and each of them, Plaintiff MONIC

 25   LACOMBE has sustained special and general damages, in an amount unascertained at this time
 26   but according to proof at the time of trial.

 27   Ill
 28   Ill
                                                          -4-

                                          COMPLAINT FOR DAMAGES


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Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 11 of 91 Page ID #:11




  1                                   SECOND CAUSE OF ACTION
  2                (Premises Liability Against COSTCO WHOLESALE and DOES 1-50)

  3          17.      Plaintiff realleges as though fully set forth and incorporates herein by reference,
  4   paragraphs 1 through 16 as though fully set forth within.
  5          18.      At all times herein mentioned, defendants COSTCO and DOES 1-50, did so own
  6   maintain, lease, rent, operate, control, repair, supervise, manage and/or occupy those certai
  7   premises located at 26610 Ynez Road, Temecula, CA 92591, and upon which PlaintiffMONIC
  8   LACOMBE slipped and fell. Defendants, in owning, maintaining, leasing, renting, operating
  9   controlling, repairing, supervising, managing and/or occupying those certain premises located a
 10   26610 Ynez Road, Temecula, CA 92591, owed a duty to their patrons, invitees, and/or guests t
 11   use reasonable care in maintaining Subject Premises in a reasonably safe condition, repair an
 12   dangerous conditions, warn plaintiff and their other customers of dangerous conditions, an
 13   exercise due care in the management, operation, ownership and/or control of the Subject Premises.
 14          19.      Despite such duties owed by COSTCO and DOES 1-50, including those dutie
 15   owed to Plaintiff MONICA LACOMBE, defendants COSTCO and DOES 1-50 breached sai
 16   duties by: (1) failing to maintain the Subject Premises in a reasonably safe condition; (2
 17   negligently operating the floor scrubber machine during open store hours; (3) failing to w
 18   Plaintiff of the danger presented by the water on the floor that was generated by the floor scrubbe
 19   machine; (4) failing to rope off the area and/or aisle while operating the floor scrubber machine·
 20   (5) failing to put up warning signs; and (6) failing to otherwise exercise due care with respect t
 21   the matters alleged in this complaint.
 22          20.      These breaches occurred despite the fact that defendants knew, or in the exercise o
 23   reasonable care should have known that the Subject Premises, and specifically the water generate
 24   by use of the floor scrubber machine and covering the floor in the aisle, posed an unreasonabl
 25   risk of harm to patrons and invitees of the Subject Premises, including MONICA LACOMBE.
 26          21.      As a direct and proximate result of the negligence of defendants COSTCO an
 27   DOES 1-50 as set forth above, plaintiff MONICA LACOMBE slipped and fell to the ground
 28   sustaining personal injuries including physical injury, pain, suffering and emotional distress.
                                                       -5-

                                         COMPLAINT FOR DAMAGES


                                                  11
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 12 of 91 Page ID #:12




      continues to suffer from said conditions and symptoms. Defendants COSTCO and DOES 1-50'

  2   conduct was a direct and substantial factor in causing her harm. As a proximate result of th

  3   negligent conduct of defendants COSTCO and DOES 1-50 and each of them, plaintiff MON IC

  4   LACOMBE has sustained special and general damages, in an amount unascertained at this time.

  5   but according to proof at the time of trial.

  6            WHEREFORE, plaintiff prays that after due proceedings, judgment be rendered in her

  7   favor as against defendants COSTCO and DOES 1-50, and each of them, as follows :

  8            l.    For general and special damages in an amount according to proof;

  9            2.     For medical and incidental expenses, incl uding future expenses, according to

 10   proof;

               "
               -'.    For loss of earnings and other incidental expenses according to proof;

               4.     For all costs of suit incurred herein;

 13            5.     For prejudgment interest at the rate allowed by law and in accordance with the

 14   provisions of Section 329 1 of the Civil Code of California;

 15            6.     For such other further relief as the Court may deem just and proper.

 16   DATED: March 18, 2020                          STIPP LAW FIRM

 17
 18

 19
                                                      Attorneys for Plaintiff MONICA LACOMBE
 20

 21

 22



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 27

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                                                          -6-

                                          COMPLAINT FOR DAMAGES



                                                     12
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 13 of 91 Page ID #:13




                  EXHIBIT B




                  EXHIBIT B

                                      13
          Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 14 of 91 Page ID #:14

                                                                                                                                                         POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                     FOR COURT USE ONLY
 Stipp Law Firm
 Jacob L. Stipp, Esq., SBN 282338
 2333 State Street Suite 205
 Carlsbad, CA 92008
       TELEPHONE NO: (760) 994-0480                    FAX NO (OptionaQ:
 ATTORNEY FOR (Name): Plaintiff
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF Riverside
   STREET ADDRESS: 30755-D Auld Road
 MAILING ADDRESS:
 CITY AND ZIP CODE: Murrieta, 92563
     BRANCH NAME: Riverside County Superior Court - Southwest Justice Center, Murrieta
    PLAINTIFF/ PETITIONER: MONICA LACOMBE                                                                    CASE NUMBER:
 DEFENDANT /RESPONDENT: COSTCO WHOLESALE CORPORATION D/B/N COSTCO WHOLESALE                                  MCC 2000853
                                                                                                             Ref. No. or File No.:
                                 PROOF OF SERVICE OF SUMMONS
                                                                                                             4601620
                                                (Separate proof of service is required for each party served.)
1.   At the time of service I was at least 18 years of age and not a party to this action.
2.   I served copies of:
     a.   00    Summons
     b.   00    Complaint
     c.   00    Alternative Dispute Resolution (ADR) Package
     d.   D     Civil Case Cover Sheet (served in complex cases only)
     e.   D     Cross-Complaint
     f.   D     Other (specify documents):
3.   a.   Party served (specify name of party as shown on documents served):
          COSTCO WHOLESALE CORPORATION D/B/A COSTCO WHOLESALE
     b.   00     Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under item Sb on
                 whom substituted service was made) (specify name and relationship to the party named in item 3a):
                 Rod Skinn, General Manager
4.   Address where the party was served:
     26610 YNEZ ROAD, MURRIETA, CA 92591
5.   I served the party (check proper box)
     a.   00     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                 receive service of process for the party (1) on (date): Mon, Jun 15 2020                    (2) at (time): 10:40 AM
     b.   D      by substituted service. On (date):                                  at (time):                                 I left the documents listed in
                 item 2 with or in the presence of (name and title or relationship to person indicated in item 3):


                c1i   D     (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the person to
                            be served. I informed him or her of the general nature of the papers.
                c2i   D     (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of abode of
                            the party. I informed him or her of the general nature of the papers.
                <3J   D     (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address of the
                            person to be served, other than a United States Postal Service post office box. I informed him or her of the general nature
                            of the papers.
                <4>   D     I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the place
                            where the copies were left (Code Civ. Proc.,§ 415.20). I mailed the documents on (date):
                            from (city):                                                                   or       D
                                                                                                                   a declaration of mailing is attached.
                (5)   D     I attach a declaration of diligence stating actions taken first to attempt personal service.




Form Adopted for Mandatory Use                                PROOF OF SERVICE OF SUMMONS                                                                 Page 1 of2
Judicial Council of California                                                                                                       Code of Civil Procedure,§ 417.10
POS-010 [Rev.January 1, 2007]


                                                                               14
           Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 15 of 91 Page ID #:15
    PLAINTIFF/PETITIONER: MONICA LACOMBE                                                                         CASE NUMBER:
 DEFENDANT/ RESPONDENT: COSTCO WHOLESALE CORPORATION D/B/ N COSTCO WHOLESALE                                     MCC 2000853

5.    c.   D         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address shown in item
                     4, by first-class mail, postage prepaid,
                     (1) on (date):                                              (2) from (city):
                     (3) D         with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me. (Attach
                                   completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc.,§ 415.30.)
                     (4) D         to an address outside California with return receipt requested. (Code Civ. Proc.,§ 415.40.)
      d.   D         by other means (specify means of service and authorizing code section):

           D         Additional page describing service is attached.
6.    The "Notice to the Person Served" (on the summons) was completed as follows:
      a. D      as an individual defendant.
      b.   D         as the person sued under the fictitious name of (specify):
      c.   D         as occupant.
      d.   [Kj       On behalf of (specify): COSTCO WHOLESALE CORPORATION D/B/A COSTCO WHOLESALE
                     under the following Code of Civil Procedure section:
                     [KJ 416.10 (corporation)                                  D    415.95 (business organization, form unknown)
                     D      416.20 (defunct corporation)                                 D      416.60 (minor)
                     D      416.30 Ooint stock company/association)                      D      416.70 (ward or conservatee)
                     D      416.40 (association or partnership)                          D      416.90 (authorized person)
                     D      416.50 {public entity)                                       D      415.46 (occupant)
                D     other:
7.    Person who served papers
      a. Name:                      Miranda Alice Ruth Enriquez
      b. Address:                   4651 Brookhollow Cir. Ste. C, Riverside, CA 92509
      c. Telephone number:          951-353-8281
      d. The fee for service was: $89.95
      e. I am:
          (1) D      not a registered California process server.
           (2)     [KJ    exempt from registration under Business and Professions Code section 22350(b).
           <3>     D      a registered California process server:
                          (i)   Downer       D       employee   D     independent contractor
                          (ii) Registration No:
                          (iii) County:
8.    [K]        I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
                 or
9.    D          I am a California sheriff or marshal and I certify that the foregoing is true and correct.




Date:      06/17/2020
Miranda Alice Ruth Enriquez
     (NAME OF PERSON WHO SERVED PAPERS/ SHERIFF OR MARSHAL)




POS-010 [Rev.January 1, 2007]                                       PROOF OF SERVICE OF SUMMONS                                                  Page 2 of2


                                                                                  15
    Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 16 of 91 Page ID #:16

                                                                                                                                                       SUM-100
                                           SUMMONS                                                                        FOR COURT USE ONLY
                                                                                                                      (SOLO PARA USO DE LA CORTE)
                                    (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AV/SO AL DEMANDADO):                                                                                                         FILED
                                                                                                                    Superior Court of California
 COSTCO WHOLESALE CORPORATION d/b/a COSTCO                                                                             County of Riverside
 WHOLESALE; and DOES 1-50, inclusive.
                                                                                                                                6/1/2020
YOU ARE BEING SUED BY PLAINTIFF:                                                                                              P. Thiphavong
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                                       Electronically Filed
 MONICA LACOMBE


  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the fil!ng fee, ask
 the court derk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 1A VISOI Lo han demandado. Si no responde dentro de 30 dlas, la carte puede decidir en su contra sin escuchar su versi6n. Lea la infonnacion a
 continuaci6n.
    Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaci6n y papeles legales para prasentar una respuesta por escrito en esta
 carte y hacer que se entregue una copia al demandante. Una carta o una llamada telef6nica no lo pro/egen. Su respuesta por escrito tiene que estar
 en fonnato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su raspuesta.
 Puede encontrar estos fonnularios de la corte y mas infonnaci6n en el Centro de Ayuda de las Cortes de California ('www.sucorte.ca.govJ, en la
 biblioteca de /eyes de su condado o en la carte que le quede mas cerca. Si no puede pagar la cuota de prasentaci6n, pida al secretario de la corte
 que le de un fonnulario de exenci6n de pago de cuotas. Si no presenta su raspuesta a tiempo, puede perder el caso por incumplimiento y la carte le
 podra quitar su sueldo, dinero y bienes sin mas advertencia.
    Hay otros requisitos legales. Es recomendable que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
 programa de servicios legales sin fines de /ucro. Puede encontrar estos grupos sin fines de /ucro en el sitio web de California Legal Services,
 ('www.lawhelpcalifomia.org), en el Centro de Ayuda de las Cortes de Califomia, ('www.sucorte.ca.govJ o poniendose en contacto con la corte o el
 colegio de abogados locales. A VISO: Por fey, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier racuperacion de $10,000 o mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                                    CASE NUMBER:
                                                                                                         (Numero de/ Caso):
(El nombre y direcci6n de la corte es):        Riverside, Southwest Justice Center
                                                                                                                               MCC2000853
30755-D Auld Road
Riverside, CA 92563
The name. address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direcci6n y el ntimero de telefono de/ abogado de/ demandante, o de/ demandante que no tiene abogado, es):
Shelley B. Fessinger, Esq. (SBN: 163020) 2333 State Street, Suite 205, Carlsbad, CA; (760) 994-0480

DATE:                                                                         Clerk, by                                                                 , Deputy
(Fecha)     6/1/2020                                                  (Secretario)         ~                                                             (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citati6n use el forrnulario Proof of Service of Summons, (POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
                                      1.   D    as an individual defendant
                                      2.   D    as the person sued under the fictitious name of (specify):


                                      3.   D    on behalf of (specify):

                                           under:   D     CCP 416.10 (corporation)                        D        CCP 416.60 (minor)
                                                    D     CCP 416.20 (defunct corporation)                D        CCP 416.70 (conservatee)
                                                    D     CCP 416.40 (association or partnership)         D        CCP 416.90 (authorized person)
                                                    D   other (specify):
                                      4.   D    by personal delivery on (date):
                                                                                                                                                           Pa o1of1
 Fann Adopted for Mandatory Use                                       SUMMONS                                                    Code of Civil Procedure §§ 412.20, 465
   Jucfic:iat Council of CatWomia                                                                                                                  w-.oourtinfO.ca.gov
   SUM-100 [Rev. Juty 1, 2009)


                                                                            16
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 17 of 91 Page ID #:17



 1    LAW OFFICES OF JAMES F. HOLTZ
      A Professional Corporation
 2    James F. Holtz, Esq. (SBN 95064)
      james.holtz@holtzapc.com
 3    16935 West Bernardo Drive, Suite 170
      San Diego, California 92127
 4    Telephone: (619) 881-1246
      Facsimile: (619) 924-5199
 5
      Attorneys for Defendant
 6    COSTCO WHOLESALE CORPORATION

 7

 8

 9                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

10            FOR THE COUNTY OF RIVERSIDE – SOUTHWEST JUSTICE CENTER

11    MONICA LACOMBE,                                    Case No.: MCC2000853
                                                         Judge:    Hon. Raquel Marquez
12                   Plaintiff(s),                       Dept:     S303

13           v.                                          NOTICE OF UNAVAILABILITY OF
                                                         COUNSEL
14    COSTCO WHOLESALE CORPORATION
      d/b/a COSTCO WHOLESALE; and DOES 1-                COMPLAINT FILED: June 1, 2020
15    50, inclusive,                                     TRIAL DATE:      Not Set

16                   Defendant(s).

17

18   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
19          NOTICE IS HEREBY GIVEN that James F. Holtz, counsel of record, will be unavailable
20   during the period of time beginning December 24, 2020 through and including January 4, 2021
21   because of scheduled holiday office closure. During said period of time, Mr. Holtz will be unavailable
22   for all purposes including, but not limited to, receiving notice of any kind, appearing in court, and
23   responding to ex parte applications or attending depositions.
24    Dated: November 24, 2020                          LAW OFFICES OF JAMES F. HOLTZ
                                                        A Professional Corporation
25
                                                        By:
26                                                           James F. Holtz
                                                        Attorneys for Defendant COSTCO
27                                                      WHOLESALE CORPORATION
28

                                                      1                               Case No.: MCC2000853
                                     NOTICE OF UNAVAILABILITY OF COUNSEL
                                                 17
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 18 of 91 Page ID #:18



 1                                          PROOF OF SERVICE

 2           I am and was at all times herein mentioned over the age of 18 years and not a party to the
     action in which this service is made. At all times herein mentioned I have been employed in the
 3   County of San Diego in the office of a member of the bar of this court at whose direction the service
 4   was made. My business address is 16935 West Bernardo Drive, Suite 170, San Diego, California
     92127.
 5          On November 24, 2020, I served the following document(s):
 6                      NOTICE OF UNAVAILABILITY OF COUNSEL

 7        BY ELECTRONIC SERVICE via e-mail sent to the attorney email addresses as set out below
           without electronic error on the date indicated below from jennifer.wolber@holtzapc.com.
 8

 9    Jacob L. Stipp, Esq.                                Attorneys for Plaintiff MONICA LACOMBE
      Shelley B. Fessinger, Esq.
10    STIPP LAW FIRM
      2333 State Street, Suite 205
11    Carlsbad, CA 92008
      Tel (760) 994-0480
12    Fax (760) 994-0563
      jake@Stipplawfirm.com
13

14           I declare under penalty of perjury under the laws of the State of California that the above is
     true and correct. Executed on November 24, 2020 at San Diego, California.
15

16                                                                 Jennifer Wolber

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                                                      2                                  Case No.: MCC2000853
                                     NOTICE OF UNAVAILABILITY OF COUNSEL
                                                  18
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 19 of 91 Page ID #:19




  1   Jacob L. Stipp, Esq. (SBN 282338)
      STIPP LAW FIRM
  2   2333 State Street, Suite 205
      Carlsbad, CA 92018
  3   Telephone: (760) 994-0480
      Facsimile: (760) 994-0563
  4
  5   Attorneys for Plaintiff MONICA LACOMBE

  6
  7

  8
                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
  9
                    COUNTY OF RIVERSIDE, SOUTHWEST JUSTICE CENTER
 10
      MONICA LACOMBE,                            ) CASE NO. MCC 2000853
 11                                              )
 12                  Plaintiff,                  ) PLAINTIFF'S DEMAND FOR JURY &
                                                 ) NOTICE OF POSTING JURY FEES
 13          vs.                                 )
                                                 )
 14   COSTCO WHOLESALE                           )
 15   CORPORATION d/b/a COSTCO                   )
      WHOLESALE; and DOES 1-50,                  )
 16   inclusive,                                 )
                                                 )
 17
                                                 )
 18                  as Defendants.              )

 19
 20   Please take Notice that plaintiff Monica LaCombe hereby demands a trial by jury in the above-

 21   entitled action and have posted the requisite jury fees pursuant to Code of Civil Procedure § 631.

 22   DATED: November f"4         , 2020
 23

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                    PLAINTIFF'S DEMAND FOR JURY & NOTICE OF POSTING JURY FEES
                                                 19
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 20 of 91 Page ID #:20




                                     PROOF OF SERVICE
                      LaCombe, et al. v. Costco Wholesale Corporation, et al.
  2                                CASE NO. MCC2000853
                                           CCP § 1013a
  3
      State of California      )
 4                             ) ss.
      County of Riverside      )
  5
              I, Jacob L. Stipp, the undersigned, am over the age of 18 years and not a party to
  6
      this action. Discovery and investigation are ongoing. I am the managing attorney of Stipp
  7   Law Firm whose address is 2333 State Street, Suite 205, Carlsbad, California 92008.
  8          On November 16, 2020 I served the interested parties in this action with the
      following documents:
  9
 10      1. PLAINTIFF'S DEMAND FOR JURY & NOTICE OF POSTING JURY FEES

 11   as follows:
 12
      IX J   BYE-Service
 13
      James F. Holtz, Esq.
 14   LAW OFFICES OF JAMES F. HOLTZ
 15   16935 West Bernardo Drive, Suite 170
      San Diego, CA 92127
 16   James.holtz@holtzapc.com
 17   Attorneys for Costco Wholesale Corporation

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                                                   -1-

                                          PROOF OF SERVICE


                                              20
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 21 of 91 Page ID #:21



 1    LAW OFFICES OF JAMES F. HOLTZ
      A Professional Corporation
 2    James F. Holtz, Esq. (SBN 95064)
      james.holtz@holtzapc.com
 3    Courtney L. Strange, Esq. (SBN 317315)
      courtney.strange@holtzapc.com
 4    16935 West Bernardo Drive, Suite 170
      San Diego, California 92127
 5    Telephone: (619) 881-1246
      Facsimile: (619) 924-5199
 6
      Attorneys for Defendant
 7    COSTCO WHOLESALE CORPORATION

 8

 9                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

10             FOR THE COUNTY OF RIVERSIDE – SOUTHWEST JUSTICE CENTER

11    MONICA LACOMBE,                                       Case No.: MCC2000853
                                                            Judge:    Hon. Raquel Marquez
12                    Plaintiff(s),                         Dept:     S303

13            v.                                            NOTICE OF DEPOSIT OF
                                                            ADVANCED JURY FEES
14    COSTCO WHOLESALE CORPORATION
      d/b/a COSTCO WHOLESALE; and DOES 1-                   COMPLAINT FILED: June 1, 2020
15    50, inclusive,                                        TRIAL DATE:      Not Set

16                    Defendant(s).

17

18           PLEASE TAKE NOTICE that Defendant COSTCO WHOLESALE CORPORATION
19   hereby deposits jury fees in the amount of $150.00, pursuant to Code of Civil Procedure Section 631,
20   and thereby preserves its right to a jury trial in the within matter.
21    Dated: November 11, 2020                             LAW OFFICES OF JAMES F. HOLTZ
                                                           A Professional Corporation
22

23

24                                                         By:
                                                                James F. Holtz
25                                                              Courtney L. Strange
                                                           Attorneys for Defendant COSTCO
26                                                         WHOLESALE CORPORATION
27

28

                                                         1                           Case No.: MCC2000853
                                      NOTICE OF DEPOSIT OF ADVANCED JURY FEES
                                                   21
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 22 of 91 Page ID #:22



 1                                          PROOF OF SERVICE

 2          I am and was at all times herein mentioned over the age of 18 years and not a party to the action
     in which this service is made. At all times herein mentioned I have been employed in the County of
 3   San Diego in the office of a member of the bar of this court at whose direction the service was made.
     My business address is 16935 West Bernardo Drive, Suite 170, San Diego, California 92127.
 4
            On November 11, 2020, I served the following document(s):
 5
                                      NOTICE OF DEPOSIT OF
 6                                     ADVANCED JURY FEES

 7        BY ELECTRONIC SERVICE via e-mail sent to the attorney email addresses as set out below
           without electronic error on the date indicated below from jennifer.wolber@holtzapc.com.
 8

 9    Jacob L. Stipp, Esq.                                Attorneys for Plaintiff MONICA LACOMBE
      Shelley B. Fessinger, Esq.
10    STIPP LAW FIRM
      2333 State Street, Suite 205
11    Carlsbad, CA 92008
      Tel (760) 994-0480
12    Fax (760) 994-0563
      jake@Stipplawfirm.com
13
             I declare under penalty of perjury under the laws of the State of California that the above is
14   true and correct. Executed on November 11, 2020 at San Diego, California.
15
                                                                   Jennifer Wolber
16

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                                                    2                                    Case No.: MCC2000853
                                 NOTICE OF DEPOSIT OF ADVANCED JURY FEES
                                                  22
         Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 23 of 91 Page ID #:23
                                                                                                                                                CM-110
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                            FOR COURT USE ONLY




               TELEPHONE NO.:                             FAX NO. (Optional):

     E-MAIL ADDRESS (Optional):

        ATTORNEY FOR (Name):

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF
      STREET ADDRESS:

      MAILING ADDRESS:

     CITY AND ZIP CODE:

         BRANCH NAME:


        PLAINTIFF/PETITIONER:
DEFENDANT/RESPONDENT:

                                   CASE MANAGEMENT STATEMENT                                           CASE NUMBER:

(Check one):                       UNLIMITED CASE                      LIMITED CASE
                                   (Amount demanded                    (Amount demanded is $25,000
                                   exceeds $25,000)                    or less)

 A CASE MANAGEMENT CONFERENCE is scheduled as follows:
Date:                                           Time:                           Dept.:               Div.:                     Room:
Address of court (if different from the address above):

             Notice of Intent to Appear by Telephone, by (name):

                 INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided.
1.     Party or parties (answer one):
        a.             This statement is submitted by party (name):
        b.             This statement is submitted jointly by parties (names):



2.     Complaint and cross-complaint (to be answered by plaintiffs and cross-complainants only)
       a. The complaint was filed on (date):
       b.        The cross-complaint, if any, was filed on (date):

3.     Service (to be answered by plaintiffs and cross-complainants only)
       a.         All parties named in the complaint and cross-complaint have been served, have appeared, or have been dismissed.
        b.             The following parties named in the complaint or cross-complaint
                       (1)          have not been served (specify names and explain why not):

                       (2)            have been served but have not appeared and have not been dismissed (specify names):

                       (3)            have had a default entered against them (specify names):

        c.             The following additional parties may be added (specify names, nature of involvement in case, and date by which
                       they may be served):



4.     Description of case
       a. Type of case in                  complaint                 cross-complaint     (Describe, including causes of action):



                                                                                                                                                  Page 1 of 5
Form Adopted for Mandatory Use
  Judicial Council of California
                                                       CASE MANAGEMENT STATEMENT                                                           Cal. Rules of Court,
                                                                                                                                            rules 3.720–3.730
   CM-110 [Rev. July 1, 2011]                                                                                                              www.courts.ca.gov



                                                                                23
    Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 24 of 91 Page ID #:24


                                                                                                                                            CM-110
                                                                                                         CASE NUMBER:
       PLAINTIFF/PETITIONER: MONICA LACOMBE
-                                                                                                         MCC2000853
    DEFENDANT/RESPONDENT: COSTCO WHOLESALE CORPORATION

4. b.       Provide a brief statement of the case, lncluding any damages. (If personal injury damages are sought, specify the injury and
            damages claimed, including medical expenses to date [indicat1~ source and amount}, estimated future medical expenses, lost
            earnings to date, and estimated future Jost earnings. If equitable relief is sought, describe the nature of the relief.)
             Plaintiff alleges she was injured when she slipped and fell on water in an aisleway at a Costco Warehouse
             located at 26610 Ynez Road, Temecula CA 92591.



     D           (If more space is needed, check this box and attach a page designated as Attachment 4b.)
5.   Jury or nonjury trial
     The party or parties request          W     a jury trial    D    a nonjury trial.   (If more than one party, provide the name of each party
     requesting a jury trial):


6.   Trial date
     a.     D   The trial has been set for (date) :
     b.     W   No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the complaint (if
                not, explain):

     c.Dates on wh ich parties or attorneys will not be available for trial (specify dates and explain reasons for unavaiiability):
       11/23-11 /30/20; 1/11-1 /18/21 ; 1 /22-1/29/21; 2/19-2i26/21 ; 4/6-4/13/21; 4/16-4/23/21; 4/30-5/7/21;
       5/17-5/24/.21 ; 5/24-5/28/21, 6/11-6/18/21; 06/25-07/06/21; 7/9-7/21/21; 07/23-7/30/21 (trials in other matters)
7. Estimated length of trial
   The party or parties estimate that the trial will take (check one):
      a.    [lJ     days (specify number) : 4
      b.    D       hours (short causes) (specify) :


8. Trial representation (to be answered for each party)
      The party or parties will be represented at trial [Z] by the attorney or party listed in the caption              D    by the following :
      a. Attorney:
      b. Firm :
      c. Address:
      d. Telephone number:                                                     f. Fax number:
      e. E-mail address :                                                      g. Party represented:
     D      Additional representation is described in Attachment 8.
9. Preference
     D           This case is entitled to preference (specify code section) :
10. Alternative dispute resolution (ADR)
      a.     ADR information package. Please note that different ADR processes are available in different courts and communities; read
             the ADR information package provided by the court under rule 3.221 for information about the processes available through the
             court and community programs in this case.
           (1) For parties represented by counsel : Counsel           W
                                                                    has          D has not        provided the ADR information package identified
               in rule 3.221 to the client and reviewed ADR options with the client.

           (2) For self-represented parties: Party     D        has   CJ   has not reviewed the ADR information package identified in rule 3.221 .
      b. Referral to judicial arbitration or civil action mediation (if available).
        (1)      CJThis matter is subject to mandatory judicial arbitration under Code of Civil Procedure se_ction 1141.11 or to civil action
                   mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                   statutory limit.

           (2)0          Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified in Code of
                         Civil Procedure section 1141 .11.

           (3)   CJ      This case is exempt from judicial arbitration under rule 3.811 of the California Rules of Court or from civil action
                          mediation under Code of Civil Procedure section 1775 et seq. (specify exemption):


CM-110 [Rev. July 1. 2011]                                                                                                                    Page 2 of 5
                                                    CASE MANAGEMENT STATEMENT



                                                                           24
    Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 25 of 91 Page ID #:25


                                                                                                                                    CM-110
                                                                                                  CASE NUMBER_
      PLAINTIFF/PETITIONER: MONICA LACOMBE
-                                                                                                 MCC2000853
::J EFENDANT/RESPONDENT: COSTCO WHOLESALE CORPORATION


10. c. Indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to participate in , or
       have already participated in (check all that apply and provide the specified information) :


                              The party or parties completing     If the party or parties completing this form in the case have agreed to
                              this form are willing to            participate in or have already completed an ADR process or processes,
                              participate in the following ADR    indicate the status of the processes (attach a copy of the parties' ADR
                              processes (check all that apply):   stipulation):


                                                                   D      Mediation session not yet scheduled


                                           D                       D      Mediation session scheduled for (date) :
    (1) Mediation
                                                                   D      Agreed to complete mediation by (date) :

                                                                   D      Mediation completed on (date) :


                                                                   [Z]    Settlement conference not yet scheduled

    (2) Settlement                         CZ]                     D      Settlement conference scheduled for (date):
        conference
                                                                   D      Agreed to complete settlement conference by (date):

                                                                   D      Settlement conference completed on (date):



                                                                   D      Neutral evaluation not yet scheduled


                                           D                       D      Neutral evaluation scheduled for (date) :
    (3) Neutra l evaluation
                                                                   D      Agreed to complete neutral evaluation by (date):

                                                                   D      Neutral evaluation completed on (date):



                                                                   D      Judicial arbitration not yet scheduled

    (4) Nonbinding judicial                D                       D      Judicial arbitration scheduled for (date) :
        arbitration
                                                                   D      Agreed to complete judicial arbitration by (date) :

                                                                   D      Judicial arbitration completed on (date) :



                                                                   D      Private arbitration not yet scheduled

    (5) Binding private                    D                       D      Private arbitration scheduled for (date) :
        arbitration
                                                                   D      Agreed to complete private arbitration by (date):

                                                                   D      Private arbitration completed on (date):



                                                                   D      ADR session not yet scheduled


                                           D                       D      ADR session scheduled for (date) :
    (6) Other (specify):
                                                                   D      Agreed to complete ADR session by (date) :

                                                                   D      ADR completed on (date):


CM-110 [Rev. July 1. 2011)                                                                                                           Page 3 of 5
                                               CASE MANAGEMENT STATEMENT




                                                                    25
 Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 26 of 91 Page ID #:26


                                                                                                                                          rM.11n
                                                                                                       CASE NUMBER:
         PLAINTIFF/PETITIONER:          MONICA LACOMBE
                                                                                                       MCC2000853
 DEFENDANT/RESPONDENT:                  COSTCO WHOLESALE CORPORATION

11 . Insurance
    a.        D   Insurance carrier, if any, for party filing this statement (name):
    b.        Reservation of rights: D        Yes D          No
    c.        CJ  Coverage issues will significantly affect resolution of this case (explain) :




12. Jurisdiction
    Indicate any matters that may affect the court's jurisdiction or processing of this case and describe the status.
      D           Bankruptcy     D     Other (specify):
   Status:

13 . Related cases, consolidation, and coordination
    a.        D     There are companion, underlying, or related cases.
                     (1)   Name of case:
                     (2)   Name of court:
                     (3)   Case number:
                     (4)   Status:
              D      Additional cases are described in Attachment 13a.
    b.        D     A motion to       D        consolidate   D     coordinate       will be filed by (name party):

14. Bifurcation
    D          The party or parties intend to file a motion for an order bifurcating , severing , or coordinating the following issues or causes of
               action (specify moving party, type of motion, and reasons) :



15. Other motions
    [ZJ        The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues) :
                  Motions in limine, possible discovery motions.


 16. Discovery
         a.   D      The party or parties have completed all discovery.
         b.   W      The following discovery will be completed by the date specified (describe all anticipated discovery) :
                     Party                                    Description                                                   Date
         Costco Wholesale Corporation                            Written discovery                                           May 2021
         Costco Wholesale Corporation                            Percipient depositions                                      June 2021
         Costco Wholesale Corporation                            Expert depositions                                          July 2021



         c.   CJ The following discovery issues, including issues regarding the discovery of electronically stored information, are
                     anticipated (specify) :




CM-110 IRev. July 1, 2011]                                                                                                                   Page 4 of 5
                                                       CASE MANAGEMENT STATEMENT



                                                                         26
 Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 27 of 91 Page ID #:27


                                                                                                                                           CM-110
      PLAINTIFF/PETITIONER:              MONICA LACOMBE                                                 CASE NUMBER:

                                                                                                        MCC2000853
DEFENDANT/RESPONDENT:                    COSTCO WHOLESALE CORPORATION


17. Economic litigation
      a.   D      This is a limited civil case (i.e., the amount demanded is $25,000 or less) and the economic litigation procedures in Code
                  of Civil Procedure sections 90-98 will apply to this case.
      b.   D      This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or for additional
                  disco.very, will be filed (if checked, explain specifically why economic litigation procedures relating to discovery or trial
                  should not apply to this case):




18. Other issues
     D         The party or parties request that the following additional matters be considered or determined at the case management
               conference (specify):




19. Meet and confer
      a.   W      The party or parties have met and conferred with all parties on all subjects required by rule 3.724 of the California Rules
                  of Court (if not, explain):




      b.    After meeting and conferring as required by rule 3. 724 of the California Rules of Court, the parties agree on the following
            (specify):




20. Total number of pages attached (if any): _ _ __

I am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute resolution,
as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these issues at the time of
the case management conference, including the written authority of the party wher         qui) . -

Date: November               10, 2020


 James F. Holtz, Attorney for Defendant                                            ~
                                                                                   '---------r''-+-- - - -- - - -- -- - -- - -- -
                                 (TYPE OR PRINT NAME)




                                (TYPE OR PRINT NAME)                                                 (SIGNATURE OF PARTY OR ATTORNEY)

                                                                                   D     Additional signatures are attached.




CM-110 [Rev. July 1, 2011]                                                                                                                   Page 5 of 5
                                                        CASE MANAGEMENT STATEMENT



                                                                        27
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 28 of 91 Page ID #:28




  I                                         PROOF OF SERVICE
  2          I am and was at all times herein mentioned over the age of 18 years and not a party to the action
      in which this service is made. At all times herein mentioned I have been employed in the County of
  3   San Diego in the office of a member of the bar of this court at whose direction the service was made.
  4
      My business address is 16935 West Bernardo Drive, Suite 170, San Diego, California 92127.
             On November 10, 2020, J served the following document(s):
  5
                                 CASE MANAGEMENT STATEMENT
  6                           BY COSTCO WHOLESALE CORPORATION

  7   [g] BY ELECTRONIC SERVICE via e-mail sent to the attorney email addresses as set out below
           without electronic error on the date indicated below from jennifer.wolber@holtzapc.com.
  8

  9    Jacob L. Stipp, Esq.                                Attorneys for PlaintiffMONICA LA COMBE
       Shelley B. Fessinger, Esq.
 10    STIPP LAW FIRM
       2333 State Street, Suite 205
 11    Carlsbad, CA 92008
       Tel (760) 994-0480
 12    Fax (760) 994-0563
       iake(a),Stioolawfirm.com
 13

 14

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                                                      6
                                               PROOF OF SERVICE

                                                 28
     Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 29 of 91 Page ID #:29


                                                                                                                                               CM-110
 AHORNEY OR PARTYWITHOUT AHORNEY/Name, State Bar number, and address) :                                              FOR COURT USE ONLY


Jacob L. Stipp (SBN.282338)
Stipp Law Firm
2333 State Street, Suite 205, Carlsbad, CA 92008
           TELEPHONE NO : (760) 994-0480            FAX NO. (Optional): (760) 994-0563
  E-MAIL ADDRESS (Optional) : jake@stipplaWfirm .com
     ATTORNEY FOR (Name): Plaintiff
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF Riverside
   STREET ADDRESS: 30755-D Auld Road
   MAILINGADDRESS:
  cnYANDz1P coDE: Murrieta , CA 92563
     BRANCHNAME Southwest Justice Center
      PLAINTIFF/PETITIONER: Monica Lacombe, et al.

DEFENDANT/RESPONDENT: Costco Wholesale Corporation, et al.

                                   CASE MANAGEMENT STA TEMENT                                         CASE NUMBER:
(Check one):             W         UNLIMITED CASE          CJ      LIMITED CASE                        MCC2000853
                                   (Amount demanded               (Amount demanded is $25,000
                                   exceeds $25,000)               or less)

 A CASE MANAGEMENT CONFERENCE is scheduled as follows:
Date: 12/1/20                                   Time: 8:30 a.m.           Dept.: S303              Div.:                      Room:
Address of court (if different from the address above):

  [ZJ      Notice of Intent to Appear by Telephone, by (name): Jacob Stipp

                 INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided.
1.    Party or parties (answer one):
      a.    D         This statement is submitted by party (name): Monica Lacombe
      b.    IT] This statement is submitted jointly by parties (names):


2.    Complaint and cross-complaint (to be answered by plaintiffs and cross-complainants only)
      a. The complaint was filed on (date): 6/1/20
      b.    D         The cross-complaint, if any, was filed on (date):

3.    Service (to be answered by plaintiffs and cross-complainants only)
      a.    W         All parties named in the complaint and cross-complaint have been served, have appeared, or have been dismissed.
      b.    D         The following parties named in the complaint or cross-complaint
                       (1)    D       have not been served (specify names and explain why not):

                       (2)    D       have been served but have not appeared and have not been dismissed (specify names):

                       (3)    D       have had a default entered against them (specify names):

      c.    D         The following additional parties may be added (specify names, nature of involvement in case, and date by which
                       they may be served):



4.    Description of case
      a.     Type of case in [2J          complaint      D       cross-complaint        (Describe, including causes of action):
              Negligence; Premises Liability

                                                                                                                                                 Pa c 1 of 5
                                                                                                                                          Cal. Rules of Court.
Form Adopted for Mandatory Use
  Judicial Council of California
                                                      CASE MANAGEMENT STATEMENT                                                            rules 3.720-3.730
  CM-1 10 [Rev. July 1, 2011)                                                                                                             w.vw.courts.ca.gov




                                                                          29
     Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 30 of 91 Page ID #:30


                                                                                                                                                  CM-110
                                                                                                                CASE NUMBER:
        PLAINTIFF/PETITIONER: Monica Lacombe, et al.
-                                                                                                                MCC2000853
    DEFENDANT/RESPONDENT: Costco Wholesale Corporation, et al.

4. b.       Provide a brief statement of the case, including any damages. (If personal injury damages are sought, specify the injury and
            damages claimed, including medical expenses to date [indicate source and amount], estimated future medical expenses, lost
            earnings to date, and estimated future lost earnings. If equitable relief is sought, describe the nature of the relief)
             Plaintiffs allege that Costco was negligent in the operation of its store, running a floor scrubber machine without
             roping off the area and warning patrons of the water it was leaving behind. Plaintiff slipped o n said water,
             suffering multiple severe injuries, including a tea r in her right w rist and bulges in her neck that require surgery.
             No loss of earnings. Specials to date are approximately $15,000 and futures are unknown at this time.
      D          (If more space is needed, check this box and attach a page designated as Attachment 4b.)
5.    Jury or nonjury trial
      The party or parties request          [ZJ   a jury tria l    D    a nonjury trial.        (If more than one party, provide the name of each party
      requesting a jury trial):


6.    Trial date
      a.    D    The trial has been set for (date):
      b. [ZJ No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the complaint (if
                 not, explain):

      c.    Dates on which parties or attorneys will not be available for trial (specify dates and explain reasons for unavailability):
            1 / 14/21 -2/5/21 (trial), 4/ 16/21-4/23/21 (trial), 5/12/21-5/26/21 (trial), 6/25/21-7/7 /21 (trial), 9/8/21-9/22/21 (trial )

7. Estimated length of trial
      The party or parties estimate that the trial will take (check one):
      a.     [ZJ     days (specify number): 7-9
      b.     D       hours (short causes) (specify):


8. Trial representation (to be answered for each party)
      The party or parties will be represented at trial           [ZJ       by the attorney or party listed in the caption     D   by the following :
      a. Attorney:
      b.     Firm:
      c.     Address:
      d.     Telephone number:                                                                 f. Fax number:
      e.     E-mail address:                                                                   g. Party represented:
      D         Additional representation is described in Attachment 8.
9.    Preference
      D      This case is entitled to preference (specify code section):
10. Alternative dispute resolution (ADR)
      a.     ADR information package. Please note that different ADR processes are available in different courts and communities; read
             the ADR information package provided by the court under rule 3.221 for information about the processes available through the
             court and community programs in this case.
           (1) For parties represented by counsel: Counsel              W
                                                                     has CJ has not                     provided the ADR information package identified
               in rule 3.221 to the c lient and reviewed ADR options with the client.

           (2) For self-represented parties: Party      D         has   D       has not reviewed the ADR information package identified in rule 3.221 .
      b. Referral to judicial arbitration or civil action mediation (if available).
        ( 1)     D This matter is subject to mandatory judicial arbitration under Code of Civil Procedu re section 11 41.11 or to civil action
                   mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                   statutory limit.

           (2)   D        Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified in Code of
                          Civil Procedure section 1141.11.
           (3)   D        This case is exempt from judicial arbitration under rule 3.811 of the California Rules of Court or from civil action
                           mediation under Code of Civil Procedure section 1775 et seq. (specify exemption):


CM-110 [Rev. July 1, 2011 ]                                                                                                                         Page 2 of 5
                                                     CASE MANAGEMENT STATEMENT



                                                                                  30
     Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 31 of 91 Page ID #:31

                                                                                                                                    CM-110
                                                                                                    CASE NUMBER:
-     PLAINTIFF/PETITIONER: Monica Lacombe, et al.
                                                                                                    MCC2000853
PEFENDANT/RESPONDENT: Costco Wholesa le Corporation, et a l.


10. c . Indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to participate in, or
        have al ready participated in (check all that apply and provide the specified information):


                              The party or parties completing     If the party or parties completing this form in the case have agreed to
                              this form are willing to            participate in or have already completed an ADR process or processes,
                              participate in the following ADR    indicate the status of the processes (attach a copy of the parties' ADR
                              processes (check all that apply):   stipulation):


                                                                   m        Mediation session not yet scheduled


                                           m                       D        Mediation session scheduled for (date):
    (1) Mediation
                                                                   D        Agreed to complete mediation by (date):

                                                                   D        Mediation completed on (date):



                                                                   D        Settlement conference not yet scheduled

    (2) Settlement                         D                       D        Settlement conference scheduled for (date):
        conference
                                                                   D        Agreed to complete settlement conference by (date):

                                                                   D        Settlement conference completed on (date):


                                                                   D        Neutral evaluation not yet schedu led

                                          D                        D        Neutral evaluation schedu led for (date):
    (3) Neutral evaluation
                                                                   D        Agreed to complete neutral evaluation by (date):

                                                                   D        Neutral evaluation completed on (date):



                                                                   D        Judicial arbitration not yet schedu led

    (4) Nonbinding judicial               D                        D        Judicial arbitration scheduled for (date):
        arbitration
                                                                   D        Agreed to complete judicial arbitration by (date):

                                                                   D        Judicial arbitration completed on (date):



                                                                   D        Private arbitration not yet scheduled

    (5) Binding private                    D                       D        Private arbitration scheduled for (date):
        arbitration
                                                                   D        Agreed to complete private arbitration by (date):

                                                                   D        Private arbitration completed on (date):


                                                                   D        ADR session not yet scheduled


                                           D                       D        ADR session scheduled for (date):
    (6) Other (specify):
                                                                   D        Agreed to complete ADR session by (date):

                                                                   D        ADR completed on (date):


CM-110 [Rev. July 1, 2011)                                                                                                          Page 3 of 5
                                              CASE MANAG EMENT STATEMENT




                                                                       31
      Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 32 of 91 Page ID #:32


                                                                                                                                          r.M-110
                                                                                                           CASE NUMBER:
           PLAINTIFF/PETITIONER:           Monica Lacombe, et al.
-                                                                                                          MCC2000853
    DEFENDANT/RESPONDENT:                  Costco Wholesale Corporation , et al.

11. Insurance
    a.       D
             Insurance carrier, if any, for party filing this statement (name):
    b. Reservation of rights:            Yes   D        No   D
      c.     D         Coverage issues will significantly affect resolution of this case (explain):




12. Jurisdiction
    Indicate any matters that may affect the court's jurisdiction or processing of this case and describe the status.
       D         Bankruptcy         D     Other (specify):
      Status:

13. Related cases, consolidation, and coordination
    a.       D
             There are companion, underlying, or related cases.
                       ( 1)   Name of case:
                       (2)    Name of court:
                       (3)    Case number:
                       (4)    Status:
             D      Additional cases are described in Attachment 13a.
      b.     D      A motion to          D         consolidate   D     coordinate       will be filed by (name party):

14. Bifurcation
      D        The party or parties intend to file a motion for an order bifurcating, severing, or coordinating the following issues or causes of
               action (specify moving party, type of motion, and reasons):



15. Other motions
      D        The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues):




    16. Discovery
        a.   D         The party or parties have completed all discovery.
        b.   [ZJ    The following discovery will be completed by the date specified (describe all anticipated discovery):
                    .E.fil!y                                 Description                                                  Date

           Plaintiff                                                 Written Discovery                                     Ongoing
           Plaintiff                                                 Depositions                                           TBD




       c.    D      The following discovery issues, including issues regarding the discovery of electronically stored information, a re
                    anticipated (specify):




CM-110 !Rev. July 1, 2011)                                                                                                                  Page 4 of 5
                                                          CASE MANAGEMENT STATEMENT



                                                                              32
   Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 33 of 91 Page ID #:33


                                                                                                                                         CM-110
                                                                                                      CASE NUMBER:
       PLAINTIFF/PETITIONER:         Monica Lacombe, et al.
                                                                                                      MCC2000853
 DEFENDANT/RESPONDENT:               Costco Wholesale Corporation, et al.


17. Economic litigation
      a.   D      This is a limited civil case (i.e., the amount demanded is $25,000 or less) and the economic litigation procedures in Code
                  of Civil Procedure sections 90-98 will apply to this case.
      b.   D      This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or for additional
                  discovery will be filed (if checked, explain specifically why economic litigation procedures relating to discovery or trial
                  should not apply to this case):




18. Other issues
      D        The party or parties request that the following additional matters be considered or determined at the case management
               conference (specify):




19. Meet and confer
    a.     W
           The party or parties have met and conferred with all parties on all subjects required by rule 3.724 of the California Rules
           of Court (if not, explain):




      b. After meeting and conferring as required by rule 3. 724 of the California Rules of Court, the parties agree on the following
         (specify):




20. Total number of pages attached (if any):
                                                    ----
1am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute resolution,
as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these issues at the time of
the case management conference, including the written authority of the party where required .

Date: 11 /16/20



 Jacob L. Stipp, Esq .
                             (TYPE OR PRINT NAME)




                             (TYPE OR PRINT NAME)                                                  (SIGNATURE OF PARTY OR ATIORNEY)

                                                                                 D      Additional signatures are attached.




CM -110[Rev. July 1,20111                                                                                                                 Page 5 of 5
                                                    CASE MANAGEMENT STATEMENT



                                                                        33
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 34 of 91 Page ID #:34




                                     PROOF OF SERVICE
                      Lacombe, et al. v. Costco Wholesale Corporation, et al.
  2                                CASE NO. MCC2000853
                                           CCP § 1013a
  3
      State of California      )
  4                            ) ss.
      County of Riverside      )
  5
              I, Jacob L. Stipp, the undersigned, am over the age of 18 years and not a party to
  6
      this action. Discovery and investigation are ongoing. I am the managing attorney of Stipp
  7   Law Firm whose address is 2333 State Street, Suite 205, Carlsbad, California 92008.
  8          On November 16, 2020 I served the interested parties in this action with the
      following documents:
  9
 10      1. PLAINTIFF MONICA LACOMBE'S CMC STATEMENT
 11
      as follows:
 12
      [ X J BYE-Service
 13
      James F. Holtz, Esq.
 14   LAW OFFICES OF JAMES F. HOLTZ
 15   16935 West Bernardo Drive, Suite 170
      San Diego, CA 92127
 16   J ames.holtz@holtzapc.com
 17   Attorneys for Costco Wholesale Corporation

 18         I declare under penalty of perjury under the
 19   above is true and correct. Executed on Novembe 16, 2 20, t

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                                                   -1-

                                          PROOF OF SERVICE


                                              34
           Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 35 of 91 Page ID #:35




                    SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                Southwest Justice Center
                                          30755-D Auld Road, Murrieta, CA 92563

  Case Number:          MCC2000853

  Case Name:            LACOMBE vs COSTCO WHOLESALE CORPORATION


  LAW OFFICES OF JAMES F. HOLTZ
  16935 WEST BERNARDO DRIVE
  SUITE 170
  SAN DIEGO, CA 92127




                                                 CERTIFICATE OF MAILING


       I certify that I am currently employed by the Superior Court of California, County of Riverside, and that I am not a
       party to this action or proceeding. In my capacity, I am familiar with the practices and procedures used in
       connection with the mailing of correspondence. Such correspondence is deposited in the outgoing mail of the
       Superior Court. Outgoing mail is delivered to and mailed by the United States Postal Service, postage prepaid, the
       same day in the ordinary course of business. I certify that I served a copy of the foregoing notice on this date, by
       depositing said copy as stated above.

                                         Notices Mailed: Minute Order dated 11/19/2020


       Dated: 11/19/2020                                         W. SAMUEL HAMRICK JR.,
                                                                 Court Executive Officer/Clerk of Court



                                                                 by: ~ C              4,


                                                                     A. True, Deputy Clerk




CW-CCM
(Ile, 118124 '17)




                                                              35
    Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 36 of 91 Page ID #:36


    SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                     Southwest Justice Center
                                     Court on its Own Motion

                                                                           11/19/2020
                                                                            11:27 AM
                                                                         Department S303


MCC2000853
LACOMBE vs COSTCO WHOLESALE CORPORATION

Honorable Raquel A. Marquez, Judge
A. True, Courtroom Assistant
Court Reporter: None


APPEARANCES:
No Appearances




On Court's own motion:
Court reviews case history.
Chambers order issued as follows:
Trial Setting Conference set 03/01/21 at 08:30 AM in Department S303 .
Case Management Conference on 12/01/2020 at 08:30 AM vacated.
Notice to be given by Clerk.




                                       Page 1 of 1 Pages
                                                36
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 37 of 91 Page ID #:37




                  EXHIBIT C




                  EXHIBIT C

                                      37
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 38 of 91 Page ID #:38




        LAW OFFICES OF JAMES F. HOLTZ
        A Professional Corporation                                             ~~[L,~[Q)
   2    James F. Holtz, Esq. (SBN 95064)                                   SUPERIOR COURT OF CALIFORNIA
                                                                               COUNTY OF RIVERSIDE
        james.holtz@holtzapc.com
   3    Courtney L. Strange, Esq. (SBN 317315)
        courtney.strange@holtzapc.com                                           AUG O6 2020
   4     16935 West Bernardo Drive, Suite 170
        San Diego, California 92127                                                MSALAS
   5    Telephone: (619) 881-1246
        Facsimile: (619) 924-5199
   6
        Attorneys for Defendant
   7    COSTCO WHOLESALE CORPORATION

   8

   9                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

  10              FOR THE COUNTY OF RIVERSIDE - SOUTHWEST JUSTICE CENTER

  11    MONICA LACOMBE,                                     Case No.: MCC2000853
                                                            Judge:    Hon. Raquel Marquez
  12                    Plaintiff(s),                       Dept:     S303

  13             V.                                         ANSWER BY COSTCO WHOLESALE
                                                            CORPORATION TO PLAINTIFF'S
  14    COSTCO WHOLESALE CORPORATION                        COMPLAINT FOR DAMAGES
        d/b/a COSTCO WHOLESALE; and
  15    DOES 1-50, inclusive,                               COMPLAINT FILED: June 1, 2020
                                                            TRIAL DATE:      Not Set
  16                    Defendant(s).

  17

  18            Defendant COSTCO WHOLESALE CORPORATION ("Defendant") hereby answers the

  19   unverified Complaint filed by Plaintiff, MONICA LACOMBE, ("Plaintiff') as follows:

  20                                           GENERAL DENIAL

  21            Pursuant to the provisions of California Code of Civil Procedure section 431.30 (d), Defendant

  22   denies generally and specifically each and every allegation contained in the Complaint. In addition,

  23   Defendant denies that Plaintiff sustained, or will sustain, any loss or damage in the manner or amount

  24   alleged, or otherwise, by reason of any act or omission, or any other conduct or absence thereof on the

  25   part of Defendant.

  26   III

  27   ///

 28    / //
                                              I                             Case No.: MCC2000853
              ANSWER BY COSTCO WHOLESALE CORPORATION TO PLAINTIFF'S COMPLAINT FOR DAMAGES



                                                    38
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 39 of 91 Page ID #:39



 1                                       AFFIRMATIVE DEFENSES

 2                                    FIRST AFFIRMATIVE DEFENSE

 3                                          (Failure to State a Claim)

 4                                                       I.

 5          As a separate affirmative defense to the Complaint on file herein, Defendant alleges that the

 6   Complaint, and each cause of action thereof, fails to allege facts or other allegations sufficient to

 7   constitute a cause of action against Defendant.

 8                                  SECOND AFFIRMATIVE DEFENSE

 9                                      (Plaintiff’s Comparative Fault)

10                                                       II.

11          As a separate affirmative defense to the Complaint on file herein, Defendant is informed and

12   believes and thereon alleges, that the damages, if any, sustained or suffered by Plaintiff in the action

13   on file herein, were proximately caused and contributed to by the negligence of Plaintiff, in that

14   Plaintiff failed to exercise ordinary, reasonable care and caution concerning the matters alleged in said

15   Complaint, which negligence bars recovery and/or reduces Plaintiff’s recovery in proportion to the

16   percentage of Plaintiff’s negligence, and fault of Plaintiff.

17                                   THIRD AFFIRMATIVE DEFENSE

18                                              (No Legal Cause)

19                                                      III.

20          As a separate affirmative defense to the Complaint on file herein, Defendant is informed and

21   believes and thereon alleges that the acts, omissions, if any, of Defendant herein were not the legal

22   cause of the losses, damage, or injuries alleged in the Complaint.

23                                  FOURTH AFFIRMATIVE DEFENSE

24                                       (Comparative Fault of Others)

25                                                      IV.

26          As a separate affirmative defense to the Complaint on file herein, Defendant is informed and

27   believes and thereon alleges that if Defendant is in any way held responsible for the damages claimed

28   herein by Plaintiff, that the damages so sustained were proximately caused and contributed to by
                                         2                             Case No.: MCC2000853
         ANSWER BY COSTCO WHOLESALE CORPORATION TO PLAINTIFF’S COMPLAINT FOR DAMAGES

                                                  39
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 40 of 91 Page ID #:40



 1   primary and active fault, or the culpable acts, omissions and fault of persons and entities other than

 2   Defendant, which persons and entities include each and every party to this action, and Defendant

 3   therefore alleges that any and all damages awarded herein should be apportioned between all such

 4   responsible parties pursuant to the doctrines of comparative negligence, total indemnity and partial

 5   indemnity.

 6                                     FIFTH AFFIRMATIVE DEFENSE

 7                                    (Intervening and Superseding Cause)

 8                                                       V.

 9             As a separate and distinct affirmative defense, the damages Plaintiff claims to have sustained

10   herein were proximately caused by third party conduct which was an intervening and superseding

11   cause.

12                                    SIXTH AFFIRMATIVE DEFENSE

13                         (No Joint and Several Liability for Non-Economic Losses)

14                                                      VI.

15             As a separate affirmative defense to the Complaint on file herein, Defendant denies

16   responsibility for Plaintiff’s damages in the incident alleged in the Complaint on file herein. However,

17   if liability is found, Defendant may be held liable only for the amount of non-economic damages

18   allocated to Defendant in direct proportion to Defendant’s percentage of fault, pursuant to Civil Code

19   section 1431.2.

20                                  SEVENTH AFFIRMATIVE DEFENSE

21                                           (Statute of Limitations)

22                                                      VII.

23             As a further, separate and affirmative defense to the Complaint, and each cause of action

24   therein, it is alleged that each of the causes of action alleged within the Complaint are barred by the

25   applicable statute of limitations pursuant to California Code of Civil Procedure section 335.1, 337.1,

26   or 338.

27   ///

28   ///
                                           3                             Case No.: MCC2000853
           ANSWER BY COSTCO WHOLESALE CORPORATION TO PLAINTIFF’S COMPLAINT FOR DAMAGES

                                                   40
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 41 of 91 Page ID #:41



 1                                  EIGHTH AFFIRMATIVE DEFENSE

 2                                            (Failure to Mitigate)

 3                                                     VIII.

 4           As a separate affirmative defense to the Complaint on file herein, Defendant is informed and

 5   believes and thereon alleges that Plaintiff failed, refused, and neglected to reasonably mitigate

 6   Plaintiff’s damages, which bars or diminishes any recovery herein by Plaintiff.

 7                                   NINTH AFFIRMATIVE DEFENSE

 8                        (Failure to Name a Necessary and/or Indispensable Party)

 9                                                      IX.

10           Defendant alleges that the Plaintiff failed to name a party necessary for full and adequate relief

11   essential in this case.

12                                   TENTH AFFIRMATIVE DEFENSE

13                                     (Laches, Estoppel, and/or Waiver)

14                                                       X.

15           Defendant alleges that the Plaintiff delayed investigation of this claim to the prejudice of

16   defendant and accordingly this action should be dismissed.

17                                ELEVENTH AFFIRMATIVE DEFENSE

18                                          (Pre-Existing Condition)

19                                                      XI.

20           Defendant alleges that the injuries claimed to have been suffered by Plaintiff were caused by

21   a pre-existing or unrelated medical condition, disease, illness or infection of the Plaintiff.

22                                 TWELFTH AFFIRMATIVE DEFENSE

23                                       (No Vicarious Responsibility)

24                                                      XII.

25           Defendant alleges that it is not vicariously responsible for the actions of any non-employee

26   third party who is alleged to have been negligent, and therefore cannot be held responsible for his or

27   her actions.

28   ///
                                           4                             Case No.: MCC2000853
           ANSWER BY COSTCO WHOLESALE CORPORATION TO PLAINTIFF’S COMPLAINT FOR DAMAGES

                                                  41
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 42 of 91 Page ID #:42



 1        WHEREFORE, Defendant prays for the following:

 2        1.     That Plaintiff takes nothing by way of the Complaint on file herein;

 3        2.     For attorney’s fees and costs of suit herein incurred; and

 4        3.     For such other and further relief as the court may deem just and proper

 5

 6   Dated: August 5, 2020                            LAW OFFICES OF JAMES F. HOLTZ
                                                      A Professional Corporation
 7

 8
                                                      By:
 9                                                         James F. Holtz
                                                           Courtney L. Strange
10                                                    Attorneys for Defendant COSTCO
                                                      WHOLESALE CORPORATION
11

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                                       5                             Case No.: MCC2000853
       ANSWER BY COSTCO WHOLESALE CORPORATION TO PLAINTIFF’S COMPLAINT FOR DAMAGES

                                              42
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 43 of 91 Page ID #:43



 1                                          PROOF OF SERVICE

 2          I am and was at all times herein mentioned over the age of 18 years and not a party to the action
     in which this service is made. At all times herein mentioned I have been employed in the County of
 3   San Diego in the office of a member of the bar of this court at whose direction the service was made.
     My business address is 16935 West Bernardo Drive, Suite 170, San Diego, California 92127.
 4
            On August 6, 2020, I served the following document(s):
 5
                         ANSWER BY COSTCO WHOLESALE CORPORATION TO
 6                           PLAINTIFF’S COMPLAINT FOR DAMAGES

 7        BY MAIL: by depositing in the United States Postal Service mail box at 16935 West Bernardo
           Drive, Suite 170, San Diego, California 92127, a true copy thereof in a sealed envelope with
 8         postage thereon fully prepaid and addressed as follows:
 9
          BY ELECTRONIC SERVICE via e-mail sent to the attorney email addresses as set out below
10         without electronic error on the date indicated below from jennifer.wolber@holtzapc.com.

11
      Jacob L. Stipp, Esq.                                Attorneys for Plaintiff MONICA LACOMBE
12    Shelley B. Fessinger, Esq.
13    STIPP LAW FIRM
      2333 State Street, Suite 205
14    Carlsbad, CA 92008
      Tel (760) 994-0480
15    Fax (760) 994-0563
      jake@Stipplawfirm.com
16

17           I declare under penalty of perjury under the laws of the State of California that the above is
     true and correct. Executed on August 6, 2020 at San Diego, California.
18

19                                                                 Jennifer Wolber
20

21

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                                         6                             Case No.: MCC2000853
         ANSWER BY COSTCO WHOLESALE CORPORATION TO PLAINTIFF’S COMPLAINT FOR DAMAGES

                                                  43
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 44 of 91 Page ID #:44




                  EXHIBIT D




                  EXHIBIT D

                                      44
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 45 of 91 Page ID #:45




 1   Jacob L. Stipp, Esq. (SBN 282338)
     STIPP LAW FIRM
 2   2333 State Street, Suite 205
     Carlsbad, CA 92018
 3   Telephone: (760) 994-0480
     Facsimile: (760) 994-0563
 4
 5   Attorneys for Plaintiff MONICA LACOMBE
 6
 7
 8
                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
                  COUNTY OF RIVERSIDE, SOUTHWEST JUSTICE CENTER
10
     MONICA LACOMBE,                        )   CASE NO. MCC 2000853
11                                          )
12                 Plaintiff,               )   PLAINTIFF’S RESPONSES TO FORM
                                            )   INTERROGATORIES PROPOUNDED BY
13          vs.                             )   DEFENDANT COSTCO WHOLESALE
                                            )   CORPORATION d/b/a COSTCO
14   COSTCO WHOLESALE                       )   WHOLESALE
15   CORPORATION d/b/a COSTCO               )
     WHOLESALE; and DOES 1-50,              )   (SET ONE)
16   inclusive,                             )
                                            )
17
                                            )
18                 as Defendants.           )
                                            )
19
20         PROPOUNDING PARTY:                   Defendant, COSTCO WHOLESALE

21                                              CORPORATION d/b/a COSTCO

22                                              WHOLESALE

23         RESPONDING PARTY:                    Plaintiff, MONICA LACOMBE

24         SET NUMBER:                          ONE (1)

25                                  PRELIMINARY STATEMENT

26         These responses are made solely for the purpose of, and in relation to, this action.

27   Discovery and investigation are ongoing. Each response is given subject to all appropriate

28   objections (including, but not limited to, objections concerning competency, relevancy,

                                                -1-
                    ___________________________________________________________
        PLAINTIFF’S RESPONSES TO FORM INTERROGATORIES PROPOUNDED BY DEFENDANT
                 COSTCO WHOLESALE CORPORATION d/b/a COSTCO WHOLESALE
                                            45
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 46 of 91 Page ID #:46




 1   materiality, propriety and admissibility) which would require the exclusion of any statement
 2   contained herein if the interrogatory or request were asked of, or any statement contained herein
 3   was made by, a witness present and testifying in court. All such objections and grounds therefore
 4   are reserved and may be interposed at the time of trial.
 5           This responding party has not fully completed discovery in this action. Discovery and
 6   investigation are ongoing. All of the answers contained herein are based only upon such
 7   information and documents presently available to and specifically known by this responding
 8   party. It is anticipated that further discovery, independent investigation, legal research and
 9   analysis will supply additional facts, add meaning to the known facts, and establish entirely new
10   factual conclusions and legal change and, variations from the contentions herein set forth.
11           The following responses are given without prejudice to the responding party’s right to
12   produce evidence of any subsequently discovered fact or facts which this responding party may
13   later uncover. The responses contained herein are made in good faith based upon factual
14   information presently known. They should in no way be used to the prejudice of the responding
15   party in relation to further discovery, research, analysis or proof.
16           Except for facts expressly admitted herein, no admission of any nature whatsoever is to
17   be implied or inferred. The fact that any FORM INTERROGATORY herein is answered should
18   not be taken as an admission or a concession of the existence of any fact set forth or assumed by
19   such FORM INTERROGATORY. Discovery and investigation are ongoing. All answers must
20   be construed as given on the basis of present recollection. Discovery and investigation are
21   ongoing.
22                   RESPONSES TO FORM INTERROGATORIES (SET ONE)
23   RESPONSE TO FORM INTERROGATORY NO. 1.1:
24           Jacob L. Stipp of Stipp Law Firm; and Monica Lacombe, who may be contacted through
25   counsel.
26   RESPONSE TO FORM INTERROGATORY NO. 2.1:
27           (a)-(c) Monica LaCombe, 2002 to present. Monica Rance, 1969-2002.
28   ///

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                       ___________________________________________________________
           PLAINTIFF’S RESPONSES TO FORM INTERROGATORIES PROPOUNDED BY DEFENDANT
                    COSTCO WHOLESALE CORPORATION d/b/a COSTCO WHOLESALE
                                                  46
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 47 of 91 Page ID #:47




 1   RESPONSE TO FORM INTERROGATORY NO. 2.2:
 2           April 28, 1969, Bronx, NY
 3   RESPONSE TO FORM INTERROGATORY NO. 2.3:
 4           Yes.
 5           (a) California
 6           (b)
 7           (c) Unknown
 8           (d) Corrective lenses
 9   RESPONSE TO FORM INTERROGATORY NO. 2.4:
10           No.
11   RESPONSE TO FORM INTERROGATORY NO. 2.5:
12           a.-c.                       , Temecula, CA 92592, 2001-present
13   RESPONSE TO FORM INTERROGATORY NO. 2.6:
14           a.-b. None
15   RESPONSE TO FORM INTERROGATORY NO. 2.7:
16           a)      Point Loma High School
17           Mesa College
18           San Diego City College
19           Morris Brown College
20           Palomar College
21           b)      Point Loma 1980-
22           San Diego Mesa College-1990
23           San Diego City College- 1991
24           Morris Brown College-1992
25           Palomar College- 2019
26           c)      10- I was a drop out. I received a GED in 2006…
27           d)      Associates Degree- Humanities and Language Arts-2009
28   ///

                                                   -3-
                       ___________________________________________________________
           PLAINTIFF’S RESPONSES TO FORM INTERROGATORIES PROPOUNDED BY DEFENDANT
                    COSTCO WHOLESALE CORPORATION d/b/a COSTCO WHOLESALE
                                               47
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 48 of 91 Page ID #:48




 1   RESPONSE TO FORM INTERROGATORY NO. 2.8:
 2          a)      St. Petersburg Florida
 3          b)      1984
 4          c)      Possession of Cocaine
 5          d)      Unknown
 6   RESPONSE TO FORM INTERROGATORY NO. 2.9:
 7          Yes.
 8   RESPONSE TO FORM INTERROGATORY NO. 2.10:
 9          Yes.
10   RESPONSE TO FORM INTERROGATORY NO. 2.11:
11          No.
12   RESPONSE TO FORM INTERROGATORY NO. 2.12:
13          Objection. Vague and ambiguous. Calls for expert opinion. Subject to and without
14   waiving said objections, Plaintiff responds as follows:
15          None as to Plaintiff. Investigation and discovery are ongoing and responding party
16   reserves the right to supplement this response.
17   RESPONSE TO FORM INTERROGATORY NO. 2.13:
18          No.
19   RESPONSE TO FORM INTERROGATORY NO. 4.1:
20          Objection. This interrogatory seeks information protected by Plaintiff’s privacy rights and
21   the collateral Source Rule, and is not likely to lead to the discovery of admissible evidence.
22   However, without waiving those objections, responding party responds as follows:
23          Yes.
24          (a) Health
25          (b) Blue Cross of California
26          (c) Plaintiff and husband, Edward LaCombe
27          (d)
28          (e) N/A

                                                 -4-
                     ___________________________________________________________
         PLAINTIFF’S RESPONSES TO FORM INTERROGATORIES PROPOUNDED BY DEFENDANT
                  COSTCO WHOLESALE CORPORATION d/b/a COSTCO WHOLESALE
                                                48
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 49 of 91 Page ID #:49




 1          (f) N/A
 2          (g) Unknown
 3          Investigation and discovery are ongoing and responding party reserves the right to
 4   supplement this response.
 5   RESPONSE TO FORM INTERROGATORY NO. 4.2:
 6          No.
 7   RESPONSE TO FORM INTERROGATORY NO. 6.1:
 8          Yes.
 9   RESPONSE TO FORM INTERROGATORY NO. 6.2:
10          Objection. This interrogatory is vague and ambiguous, overbroad, calls for speculation,
11   calls for a legal conclusion and/or expert opinion, and is burdensome and harassing in that it calls
12   for production of a list or summary. California Code of Civil Procedure Section 2030.230;
13   Brotsky v. State Bar of California, 57 Cal.2d 287 (1962). Without waiving said objection, plaintiff
14   responds:
15          (1) Left knee pain
16          (2) Right hand pain
17          (3) Right wrist pain
18          (4) Left ankle pain
19          (5) Back pain
20          (6) Neck pain
21          (7) Right shoulder pain
22          (8) Upper arm pain
23          (9) Lower extremity pain
24          (10)     Right elbow pain
25          (11)     Numbness and tingling in the right arm
26          (12)     3 mm disc bulge at C6-7, which extends into the right neural foramen, resulting in
27                severe stenosis and compression of the exiting right C6 nerve.
28          (13)     2 mm disc bulge at C3-4, which flattened the anterior thecal sac

                                                 -5-
                     ___________________________________________________________
         PLAINTIFF’S RESPONSES TO FORM INTERROGATORIES PROPOUNDED BY DEFENDANT
                  COSTCO WHOLESALE CORPORATION d/b/a COSTCO WHOLESALE
                                                 49
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 50 of 91 Page ID #:50




 1          (14)    1 mm disc bulge at C5-6
 2          (15)    Right wrist - a tear of the radial aspect of the Triangular Fibrocartilage Complex
 3              and trace fluid within the distal radioulnar joint
 4          (16)    Decreased range of motion on the right side
 5          (17)    Radiculopathy into right arm
 6          (18)    Pain radiating down into the right arm
 7          (19)    Loss of strength and flexibility
 8          (20)    Radiculopathy into lower extremities
 9          (21)    Suffering
10          (22)    Emotional Distress
11          Investigation and discovery are continuing and responding party reserves the right to
12   supplement this response.
13   RESPONSE TO FORM INTERROGATORY NO. 6.3:
14          Objection. This interrogatory is vague and ambiguous, overbroad, calls for speculation
15   and calls for a legal conclusion and/or expert opinion. However, without waiving those objections,
16   responding party responds as follows:
17          Yes.
18          (1) Right hand pain
19          (2) Right wrist pain
20          (3) Back pain
21          (4) Neck pain
22          (5) Right shoulder pain
23          (6) Upper arm pain
24          (7) Right elbow pain
25          (8) Numbness and tingling in the right arm
26          (9) 3 mm disc bulge at C6-7, which extends into the right neural foramen, resulting in
27              severe stenosis and compression of the exiting right C6 nerve.
28          (10)    2 mm disc bulge at C3-4, which flattened the anterior thecal sac

                                                 -6-
                     ___________________________________________________________
         PLAINTIFF’S RESPONSES TO FORM INTERROGATORIES PROPOUNDED BY DEFENDANT
                  COSTCO WHOLESALE CORPORATION d/b/a COSTCO WHOLESALE
                                                 50
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 51 of 91 Page ID #:51




 1          (11)      1 mm disc bulge at C5-6
 2          (12)      Decreased range of motion on the right side
 3          (13)      Radiculopathy into right arm
 4          (14)      Pain radiating down into the right arm
 5          (15)      Loss of strength and flexibility
 6          (16)      Suffering
 7          (17)      Emotional Distress
 8               Constant, Daily
 9          Investigation and discovery are ongoing and responding party reserves the right to
10   supplement this response.
11   RESPONSE TO FORM INTERROGATORY NO. 6.4:
12          Objection. This interrogatory is vague and ambiguous, overbroad, calls for speculation,
13   calls for a legal conclusion and/or expert opinion, and is burdensome and harassing in that it calls
14   for production of a list or summary. California Code of Civil Procedure Section 2030.230;
15   Brotsky v. State Bar of California, 57 Cal.2d 287 (1962). Without waiving said objection, plaintiff
16   responds:
17          Yes.
18          (a)-(d)
19          (1) The Rehab Group; see medical records produced herewith pursuant to California
20   Code of Civil Procedure Section 2030.210(a)(2), various, various, see liens and bills produced
21   herewith pursuant to California Code of Civil Procedure Section 2030.210(a)(2).
22          (2) Temecku Chiropractic; see medical records produced herewith pursuant to California
23   Code of Civil Procedure Section 2030.210(a)(2), various, various, see liens and bills produced
24   herewith pursuant to California Code of Civil Procedure Section 2030.210(a)(2).
25          (3) Temecula Valle Hospital; see medical records produced herewith pursuant to
26   California Code of Civil Procedure Section 2030.210(a)(2), various, various, see bills and liens
27   produced herewith pursuant to California Code of Civil Procedure Section 2030.210(a)(2).
28

                                                 -7-
                     ___________________________________________________________
         PLAINTIFF’S RESPONSES TO FORM INTERROGATORIES PROPOUNDED BY DEFENDANT
                  COSTCO WHOLESALE CORPORATION d/b/a COSTCO WHOLESALE
                                                  51
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 52 of 91 Page ID #:52




 1          (4) Synergy Specialists Medical Group, Inc.; see medical records produced herewith
 2   pursuant to California Code of Civil Procedure Section 2030.210(a)(2), various, various, see bills
 3   and liens produced herewith pursuant to California Code of Civil Procedure Section
 4   2030.210(a)(2).
 5          (5) Spine Institute of San Diego; see medical records produced herewith pursuant to
 6   California Code of Civil Procedure Section 2030.210(a)(2), various, various, see bills and liens
 7   produced herewith pursuant to California Code of Civil Procedure Section 2030.210(a)(2).
 8          (6) Spine & Pain Management; see medical records produced herewith pursuant to
 9   California Code of Civil Procedure Section 2030.210(a)(2), various, various, see bills and liens
10   produced herewith pursuant to California Code of Civil Procedure Section 2030.210(a)(2).
11          (7) Imaging Healthcare Specialists; see medical records produced herewith pursuant to
12   California Code of Civil Procedure Section 2030.210(a)(2), various, various, see bills and liens
13   produced herewith pursuant to California Code of Civil Procedure Section 2030.210(a)(2).
14          (8) Neurological and Pain Institute; see medical records produced herewith pursuant to
15   California Code of Civil Procedure Section 2030.210(a)(2), various, various, see bills and liens
16   produced herewith pursuant to California Code of Civil Procedure Section 2030.210(a)(2).
17          (9) Keeran Kumar, M.D.; see medical records produced herewith pursuant to California
18   Code of Civil Procedure Section 2030.210(a)(2), various, various, see bills and liens produced
19   herewith pursuant to California Code of Civil Procedure Section 2030.210(a)(2).
20          (10) Temecula Emergency Physicians; see medical records produced herewith pursuant
21   to California Code of Civil Procedure Section 2030.210(a)(2), various, various, see bills and liens
22   produced herewith pursuant to California Code of Civil Procedure Section 2030.210(a)(2).
23          Investigation and discovery are ongoing and responding party reserves the right to
24   supplement this response.
25   RESPONSE TO FORM INTERROGATORY NO. 6.5:
26          Objection. This interrogatory is vague and ambiguous, overbroad, calls for speculation,
27   calls for a legal conclusion and/or expert opinion, and is burdensome and harassing in that it calls
28   for production of a list or summary. California Code of Civil Procedure Section 2030.230;

                                                 -8-
                     ___________________________________________________________
         PLAINTIFF’S RESPONSES TO FORM INTERROGATORIES PROPOUNDED BY DEFENDANT
                  COSTCO WHOLESALE CORPORATION d/b/a COSTCO WHOLESALE
                                                 52
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 53 of 91 Page ID #:53




 1   Brotsky v. State Bar of California, 57 Cal.2d 287 (1962). Without waiving said objection, plaintiff
 2   responds: See medical records produced herewith pursuant to California Code of Civil Procedure
 3   Section 2030.210(a)(2).
 4           Investigation and discovery are ongoing and responding party reserves the right to
 5   supplement this response.
 6   RESPONSE TO FORM INTERROGATORY NO. 6.6:
 7           Objection. This interrogatory is vague and ambiguous, overbroad, calls for speculation
 8   and calls for a legal conclusion and/or expert opinion. However, without waiving those objections,
 9   responding party responds as follows:
10           Yes. Plaintiff is waiting to be cleared for neck surgery by Dr. Raiszadeh, the cost of which
11   is unknown at this time.
12           Investigation and discovery are ongoing and responding party reserves the right to
13   supplement this response.
14   RESPONSE TO FORM INTERROGATORY NO. 6.7:
15           Objection. This interrogatory is vague and ambiguous, overbroad, is premature as
16   treatment continues and is ongoing, calls for speculation and calls for a legal conclusion and/or
17   expert opinion. However, without waiving those objections, responding party responds as
18   follows:
19           Yes. Plaintiff is waiting to be cleared for neck surgery by Dr. Raiszadeh, the cost of which
20   is unknown at this time. There will be an artificial disc replacement at C6-7 and anterior cervical
21   discectomy and fusion at C6-7.
22           Investigation and discovery are ongoing and responding party reserves the right to
23   supplement this response.
24   RESPONSE TO FORM INTERROGATORY NO. 7.1:
25           No.
26   RESPONSE TO FORM INTERROGATORY NO. 7.2:
27           N/A
28   ///

                                                   -9-
                       ___________________________________________________________
           PLAINTIFF’S RESPONSES TO FORM INTERROGATORIES PROPOUNDED BY DEFENDANT
                    COSTCO WHOLESALE CORPORATION d/b/a COSTCO WHOLESALE
                                                 53
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 54 of 91 Page ID #:54




 1   RESPONSE TO FORM INTERROGATORY NO. 7.3:
 2          N/A
 3   RESPONSE TO FORM INTERROGATORY NO. 8.1:
 4          No.
 5   RESPONSE TO FORM INTERROGATORY NO. 8.2:
 6          N/A
 7   RESPONSE TO FORM INTERROGATORY NO. 8.3:
 8          N/A
 9   RESPONSE TO FORM INTERROGATORY NO. 8.4:
10          N/A
11   RESPONSE TO FORM INTERROGATORY NO. 8.5:
12          N/A
13   RESPONSE TO FORM INTERROGATORY NO. 8.6:
14          N/A
15   RESPONSE TO FORM INTERROGATORY NO. 8.7:
16          N/A
17   RESPONSE TO FORM INTERROGATORY NO. 8.8:
18          N/A
19   RESPONSE TO FORM INTERROGATORY NO. 9.1:
20          Objection. Vague and ambiguous. Overbroad. Calls for expert opinion. However,
21   without waiving those objections, responding party responds as follows:
22          No.
23          This response is given without prejudice to the right of this responding party to produce
24   at the time of trial, or any other proceeding in this action, and all subsequently discovered
25   evidence relating to the proof of presently known material facts and contentions, and to produces
26   all evidence whenever discovered relating to the proof of subsequently discovered material facts
27   and contentions, not evident at this time. Investigation and discovery are ongoing and responding
28   party reserves the right to supplement this response.

                                                 -10-
                     ___________________________________________________________
         PLAINTIFF’S RESPONSES TO FORM INTERROGATORIES PROPOUNDED BY DEFENDANT
                  COSTCO WHOLESALE CORPORATION d/b/a COSTCO WHOLESALE
                                                54
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 55 of 91 Page ID #:55




 1   RESPONSE TO FORM INTERROGATORY NO. 9.2:
 2          N/A
 3   RESPONSE TO FORM INTERROGATORY NO. 10.1:
 4          Objection. Calls for expert opinion. Overbroad. Vague and ambiguous. Without waiving
 5   said objections, Plaintiff responds as follows:
 6          Plaintiff had prior low back issues, that were dormant and exacerbated by this fall.
 7          This response is given without prejudice to the right of this responding party to produce
 8   at the time of trial, or any other proceeding in this action, and all subsequently discovered
 9   evidence relating to the proof of presently known material facts and contentions, and to produces
10   all evidence whenever discovered relating to the proof of subsequently discovered material facts
11   and contentions, not evident at this time. Investigation and discovery are ongoing and responding
12   party reserves the right to supplement this response.
13   RESPONSE TO FORM INTERROGATORY NO. 10.2:
14          Objection. Calls for expert opinion. Overbroad. Vague and ambiguous. Without waiving
15   said objections, Plaintiff responds as follows:
16          Plaintiff had prior low back issues, that were dormant and exacerbated by this fall.
17          This response is given without prejudice to the right of this responding party to produce
18   at the time of trial, or any other proceeding in this action, and all subsequently discovered
19   evidence relating to the proof of presently known material facts and contentions, and to produces
20   all evidence whenever discovered relating to the proof of subsequently discovered material facts
21   and contentions, not evident at this time. Investigation and discovery are ongoing and responding
22   party reserves the right to supplement this response.
23   RESPONSE TO FORM INTERROGATORY NO. 10.3:
24          No.
25   RESPONSE TO FORM INTERROGATORY NO. 11.1:
26          No.
27   RESPONSE TO FORM INTERROGATORY NO. 11.2:
28          No.

                                                 -11-
                     ___________________________________________________________
         PLAINTIFF’S RESPONSES TO FORM INTERROGATORIES PROPOUNDED BY DEFENDANT
                  COSTCO WHOLESALE CORPORATION d/b/a COSTCO WHOLESALE
                                                 55
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 56 of 91 Page ID #:56




 1   RESPONSE TO FORM INTERROGATORY NO. 12.1:
 2           Objection. Overbroad. Calls for speculation. Vague and ambiguous. Without waiving
 3   said objections, Plaintiff responds as follows:
 4           a. Plaintiff, Defendant and its employees, including, but not limited to Deanna (last name
 5              unknown), Amy (last name unknown), Darryl (last name unknown) and Joseph (last
 6              name unknown). Investigation and discovery are ongoing and responding party
 7              reserves the right to supplement this response.
 8           b. Plaintiff, Defendant and its employees, including, but not limited to Deanna (last name
 9              unknown), Darryl (last name unknown) and Joseph (last name unknown).
10              Investigation and discovery are ongoing and responding party reserves the right to
11              supplement this response.
12           c. Plaintiff, Defendant and its employees, including, but not limited to Deanna (last name
13              unknown), Darryl (last name unknown) and Joseph (last name unknown).
14              Investigation and discovery are ongoing and responding party reserves the right to
15              supplement this response.
16           d. Plaintiff. Plaintiff’s husband, Edward LaCombe, who may be contacted through
17              counsel. Defendant and its employees, including, but not limited to Deanna (last name
18              unknown), Darryl (last name unknown) and Joseph (last name unknown). Plaintiff’s
19              care providers, the names and contact information for which are equally available and
20              have been produced in the medical records. Investigation and discovery are ongoing
21              and responding party reserves the right to supplement this response.
22           This response is given without prejudice to the right of this responding party to produce
23   at the time of trial, or any other proceeding in this action, and all subsequently discovered
24   evidence relating to the proof of presently known material facts and contentions, and to produces
25   all evidence whenever discovered relating to the proof of subsequently discovered material facts
26   and contentions, not evident at this time. Investigation and discovery are ongoing and responding
27   party reserves the right to supplement this response.
28   ///

                                                   -12-
                       ___________________________________________________________
           PLAINTIFF’S RESPONSES TO FORM INTERROGATORIES PROPOUNDED BY DEFENDANT
                    COSTCO WHOLESALE CORPORATION d/b/a COSTCO WHOLESALE
                                                 56
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 57 of 91 Page ID #:57




 1   RESPONSE TO FORM INTERROGATORY NO. 12.2:
 2           Objection. This interrogatory seeks information protected by the attorney client privilege
 3   and/or the work product doctrine. Without waiving those objections, responding party responds
 4   as follows:
 5           No.
 6           Investigation and discovery are ongoing and responding party reserves the right to
 7   supplement this response.
 8   RESPONSE TO FORM INTERROGATORY NO. 12.3:
 9           Objection. This interrogatory seeks information protected by the attorney client privilege
10   and/or the work product doctrine. Without waiving those objections, responding party responds
11   as follows:
12           No.
13           Investigation and discovery are ongoing and responding party reserves the right to
14   supplement this response.
15   RESPONSE TO FORM INTERROGATORY NO. 12.4:
16           Objection. This interrogatory seeks premature disclosure of expert witness information
17   and no expert photos will be produced. Overbroad. Vague and ambiguous. However, and without
18   waiving these objections, responding party responds as follows:
19           Yes. Video surveillance and photos taken by Defendant, which it has not yet produced.
20           Investigation and discovery are ongoing and responding party reserves the right to
21   supplement this response.
22   RESPONSE TO FORM INTERROGATORY NO. 12.5:
23           Yes, map of store not yet produced by Defendant.
24   RESPONSE TO FORM INTERROGATORY NO. 12.6:
25           Plaintiff believes that Defendant made a report.
26   ///
27   ///
28   ///

                                                   -13-
                       ___________________________________________________________
           PLAINTIFF’S RESPONSES TO FORM INTERROGATORIES PROPOUNDED BY DEFENDANT
                    COSTCO WHOLESALE CORPORATION d/b/a COSTCO WHOLESALE
                                                57
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 58 of 91 Page ID #:58




 1   RESPONSE TO FORM INTERROGATORY NO. 12.7:
 2          Objection. Calls for the premature disclosure of expert opinion. Violates the attorney-
 3   client privilege and work-product doctrine. Without waiving said objections, Plaintiff responds
 4   as follows:
 5          No.
 6          Investigation and discovery are ongoing and responding party reserves the right to
 7   supplement this response.
 8   RESPONSE TO FORM INTERROGATORY NO. 14.1:
 9          Objection. This interrogatory is vague and ambiguous, overbroad, calls for speculation
10   and calls for a legal conclusion and/or expert opinion.       However, without waiving those
11   objections, responding party responds as follows:
12          Not at this time.
13          Investigation and discovery are ongoing and responding party reserves the right to
14   supplement this response.
15   RESPONSE TO FORM INTERROGATORY NO. 14.2:
16          Objection. This interrogatory is vague and ambiguous, overbroad, calls for speculation
17   and calls for a legal conclusion and/or expert opinion. However, without waiving those objections,
18   responding party responds as follows:
19          No.
20          Investigation and discovery are ongoing and responding party reserves the right to
21   supplement this response.
22                   3 2020
     DATED: November ___,                                 STIPP LAW FIRM
23
24                                                   By:______________________________
                                                         Jacob L. Stipp, Esq.
25
                                                         Attorneys for Plaintiff
26
27
28

                                                 -14-
                     ___________________________________________________________
         PLAINTIFF’S RESPONSES TO FORM INTERROGATORIES PROPOUNDED BY DEFENDANT
                  COSTCO WHOLESALE CORPORATION d/b/a COSTCO WHOLESALE
                                                58
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 59 of 91 Page ID #:59




                  EXHIBIT E




                  EXHIBIT E

                                      59
   Case 5:20-cv-02486-JGB-SHK
    RECEIVED                        Document 1 Filed
             02/18/2019 06:45PM 17606375087           11/30/20
                                                   JACOB STIPP Page 60 of 91 Page ID #:60
02/18/2019   05:15 PM PST         T0:17609940563 FROM:9512965287             Page:   2

                                                                Patient File
       Patient:     LA COMBE, MONICA                            Account: 16208-1                         Case Type:   ALN 1

    Patient lnfonnation:
       Patient Name:    MONICA LA COMBE                                       Birth Date:           4/28/1969
       Primary Address:                                                       Sex:                  F
                        TEMECULA, CA 92592                                    SSN:
       Sec. Address:                                                          Marital Status:
                                                                              Spouse Name:
       Primary Phone:       (951) 387-0440                                    Recall Date:
                                                                              Last Appt:            7/30/2018
       Other                                                                  NextAppt:
       Email:               monlca.lacombe@live.com                           Referral Source:

     Diagnosis lnfonnatlon:
                                     --------
       Initial Complaint:                                                     Initial Visit Date:   7/27/2018
                                                                              Illness Date:         7/22/2018
       Sublux. Level:

       Diagnosis            DxDate           ICDA                Diagnosis:
                                                                 --------·-··-----------
                            7/27/2018        G44.319             ACUTE POST-TRAUMATIC HEADACHE
                            7/27/2018        S13.4XXA            SPRAIN OF LIGAMENTS OF CERVICAL SPINE INITIAL
                            7/27/2018        M54.2               ENCOUNTER (ACTIVE TREATMENT)
                            7/27/2018        M54.12              CERVICALGIA
                            7/27/2018        S29.012A            RADICULOPATHY CERVICAL REGION
                            7/27/2018        M54.6               STRAIN OF MUSCLE AND TENDON OF BACK WALL OF THORAX
                            7/27/2018        S39.012A            INITIAL ENCOUNTER (ACTIVE TREATMENT)
                            7/27/2018        M54.5               PAIN IN THORACIC SPINE
                                                                 STRAIN OF MUSCLE, FASCIA AND TENDON OF LOWER BACK,
                                                                 INITIAL ENCOUNTER (ACTIVE TREATMENT)
                                                                 LOW BACK PAIN (LUMBAGO)
     Attomey Information:
       Firm Name:           STIPP LAW FIRM                                    Phone:                (760) 994-0tSO
       Optional Line:                                                         Fax:                  (760) 994-0563
       Attorney:            JACOB STIPP                                       Contact:
       Address:             2333 STATE ST STE 205                             Auto Accident:    y
                            CARLSBAD, CA 92008                                Accident State:
       Email:                                                                 Sim Illness Date:




     Patient File for 16208-1 LA COMBE, MONICA- Monday, Feb111ary 18, 2019 4:14:26 PM




                                                                       60
           Case  5:20-cv-02486-JGB-SHK
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                                                            JACOB STIPP Page 61 of 91 Page ID #:61
02/18/2019              05:15 PM PST           T0:176 9940563               FROM:9512965287                               Page:            3
      . , ..                         PERSONAL INJ RY QUESTIONNAIRE                                              . Al[::-11 Jc..-
  Dear Patient:                                                                         Date _CJ~-~rt...1-+~....- o___
  We need this confidential information answered c mpletely to help us assess your need for care. If we do
  not sincerely believe your condition will respond chiropractic care, we will not accept you as a patient
  Thank You.




      ,.
      2.

 ,;   .


                                                                                     SHOW AREA{SJ OF PAIN OR UNUSUAL Fe!UNG
                                                                                     IMMEDIATElYAFTER ACODENT.
                                                                                 Mark the •reas on this body whert you felt tht
                                                                                 described sensations. Use the •pproprare symbols in all
      3. Did you come in contact with any objects? ~ () If yes,                  affected areas.

            what objects (i.e. door, cabinet)? ----+-----
      4. What parts of your body came in contact with the above
            object(sH        ~   )   tfr                   i




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                                                                                                                  \/\/
      6. Were you unconscious as a result of the injury?_ If yes, how long? _ _ _ _ _ _ _ _ __
      7. Were you bleeding as a result of the injury? _ _\.1.;...;;..ID~--------------
  8, Did you consult any other doctor?          ~J\.Qc1@fJ\C t ~             1fOD M @lTa11Aer rJt>.. t hlO R~
            Doctor's name1                                     '•                -         DC _          MO_ oo _                 DDS

. 9. Describe the doctor's diagnosis           S-0   (l\ \ iA.t ~        \l ;vss.~        CM,, t\ e\ '     _
10. ~ttreatmentdidyoureceivel                  ~Ad OJ~!(£                                 &ll\ k:1 \l ¥) CNo ktJ'\
11. Are}o~ill under a doctor's care?_ If yes, please explain _ _ _ _ _ _ _ _ _ _ __




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    Case  5:20-cv-02486-JGB-SHK
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                02/18/2019 06:45PM 17606375087               11/30/20
                                                          JACOB STIPP Page 62 of 91 Page ID #:62
02/18/2019     05:15 PM PST            T0:17609940563 FROM:9512965287               Page:   4
 Past HJstory:                            \ '\ /\
 1. Have you ever injured this area before?~ If yes, when? - - - - - - - - - - - - - -

 2.   If injured before, did you lose time from workl - - - - - - - - - - - - - - - - -

 3. Have you been involved in_a~previous accidents of any kind (personal injury, automobile accident or
    workers' com nsation)? "\.(l; ~f yes, pie.ase explain dates and d~tails ........----------
                     C)       ~~s        . ~, ~- ,                       ,~ .

 4. Have you been treated previously by a chiropractor?* If yes, please e11plain                     \hi Gdjl,t.'2:\ lllP ~h
 Present Information/Disability:
 1.   Have you returned to work?_Q_Qf yes, date returned to work           -~~\),_.;...,.{:-i(\:i-...._ _ _ _ _ _ __

 2.   Jobdescriptio4       ~r&-C h ~Jo alt ·
 3. Do ou hav~ to favor any p rt of your b
                                             l in~.)          '~                           T
                                                  your work? - ¥ I f yes,,._Please explain _.&J:<.:::;._......;\l~.s.:~..._-
                                                                                  ~   ·• ..




 4.


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 6.




 I certify that I have read and understand the above information. To the best of my knowledge the above
 questions have been accurately answered. I understand that providing incorrect information can be
 dangerous to my health.




             Pade~s Signature
                                                                                      1 {;:i,J
                                                                                              Date
                                                                                                        I6Wl-f y
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             Doctor's Signature (upon review)                                             Date




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    Case  5:20-cv-02486-JGB-SHK
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               02/18/2019 06:45PM 17606375087           11/30/20
                                                    JACOB STIPP Page 63 of 91 Page ID #:63
02/18/2019       05:15 PM PST             T0:17609940563       FROM:9512965287                     Page:   5

                                               Symptoms
        Patient    \J\o 1/q C€      rQJr)Jllhe       Data Df    1~7 (~ 1 Date of Injury I)   l(zz /t y-·
       Please f/JI in all symptoms you currently have that you did nqt have before the accident.

        Qdbopac11c I       NYHNloskeJtlll Sym9tpms      Bralp/NauroPfYChJMIBI §ymptoms 1
        D •ounk• Scuid with Neck Movements              OWanting to be Alone
        ~eek Pain                                       D Sleepiness
        §P.Jpper Back Pain                              £1:Nausea/vomiting


        t   ow Back Pain
            houkler Pain
            pper Arm Pain
         0 Elbow Pain
              reannPain
                                  OLeft flht
                                  OLeft      · ht
                                  Oleft Ll·Rlght
                                  CJ Left q Right
                                                        ~lfflculty Concentrating



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                                                              y Dreamlng/Startng Mlndless Staring
                                                             00d SWlngs
                                                              ltatlon
                                                              dness or tearful


        !    rist Pain
             and Pain
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                                            Right
                                                         !.J Blurry Vision
                                                         D Double Vision
                                                         .Q plsoriented

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                                      eft D Right
                                      aft ORlght
                                    Left ORlght
                                                        ~onfused
                                                        0 Difficulty Speaking
                                                         D Feelings of Isolation from Others
                                                                   tion Problems
         gePain
         OJawPain
         D CHGking in Jaw
                                  BJ'Left ORlght
                                  C!lleft D Right
                                                         E          ·te Change
                                                              Puplls Different Sizes
                                                             Room Spins/ Woozy Feeling
         D Pain when Chewing
         OFace Pain
         OChestPatn
                                                         i   Balance Problems
                                                             Diffloulty Walking
                                                         D Difficulty Focusing/Easily Distracted
                                                         OVeryllred
         0 Stomach Pain
         D Bruise/Contusion t o - - - - -                i J Oozing During The Day
          O AbrasfowScrapa m________..,.__                0 Personality Change
          D Other Symptom--------                         D Can't Remember Numbers
          0 Other Symptom-------                          D Reading Problems


           Numb/TlngHng Ann I Hand L
           Numb/Tlngling Leg / Foot L R
         ~eakness Arm/ Hand         ~   '·
                                               i          D Writing Problems
                                                         g J)ifflculty with Adding/Subtracting
                                                         ~oar Attention
                                                         D Difficulty Leaming New Things
                                                         O Difficulty Understanding


                                                          E
                                                                  culty Remembering Things
         ~eakness Leg/ Foot         Cl R                            ading Things to Understand h

             Symptoms Associated Wfth •01ur111
         ~ange of Motion Problems
                                                              Anger
                                                               ifficulty Making Decisions
                                                               hange in Sexual Functioning
                                                              Reduced Confidence
                                                                                             ~1
         ~eadaches                                        lJ Helplessness
             D   Mu9::,asins                                  Apathy (Don't care)


         E            Dlstumances
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                                                               Change In Sense of Ta&te or SmeU
                                                                lashbacks to Accident
                                                            mpatlence
                                                          D Frustration
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              02/18/2019 06:45PM 17606375087           11/30/20
                                                    JACOB STIPP Page 65 of 91 Page ID #:65
02/18/2019   05:15 PM PST          T0:176~9940563 FROM:9512965287             Page:   7

                                       !
                          I T E M I Z , D S T A T E ME N T
             STIPP LAW FIRM            ·               CLAIM NO:
                                                       ADJUSTER:
             2333 STATE ST STE 205
             CARLSBAD CA 92008                         EMPLOYER:
  PATIENT:                            BIRTHDAY:                INSURED:
                          08 ALN 1    04-28-1969
                                      SEX:F                    I.D.#
    TEMECULA, CA 92592                RELATIONSHIP:         GROUP

  OTHER INSURANCE:                    WORK INJURY:NO           INSUREDS ADDRESS:
                                      AUTO ACCIDENT:YES
                                                               '
  RELEASE OF INFORMATION:ON FILE             ASSIGNMENT OF BENEFITS:ON FILE
  ILLNESS/ACCIDENT DATE:07-22-2018           FIRST TREATMENT:07-27-2018
  DIAGNOSIS:
     G44.319 ACUTE POST-TRAUMATIC HEADACHE
     S13.4XXA SPRAIN OF LIGAMENTS OF CERVICAL SPINE INITIAL ENCOUNTER (ACTIVE TREAT~
     M54.2 CERVICALGIA
     M54.12 RADICULOPATHY CERVICAL RgGION
     S29.012A STRAIN OF MUSCLE AND TENDON OF BACK WALL OF THORAX INITIAL ENCOUNTER I
     M54.6 PAIN IN THORACIC SPINE    .
     S39.012A STRAIN OF MUSCLE, FASCIA AND TENDON OF LOWER BACK, INITIAL ENCOUNTER I
     M54.5 LOW BACK PAIN (LUMBAGO)
    DATE        DESCRIPTION                            PROC CODE            AMOUNT
  07-27-2018    COMPREHENSIVE (NEW PATIENT              99204 25           275 00
  07-27-2018    ELECT MUSCLE STIM                       97014               40 00
  07-27-2018    HOT OR COLD PACKS                       97010               25 00
  07-27-2018    1-2 REGION MANIPULATION                 98940 AT            55 00
  07-30-2018    ELECT MUSCLE STIM                       97014               40 00
  07-30-2018    HOT OR COLD PACKS                       97010               25 00
  07-30-2018    1-2 REGION MANIPULATION                 98940 AT            55 00

                                                       TOTAL               515 00




    DATE:02-18-2019




     ANTHONY D YOUNG




                                             65
   Case  5:20-cv-02486-JGB-SHK
     RECEIVED                        Document 1 Filed
               02/18/2019 06:45PM 17606375087          11/30/20
                                                    JACOB STIPP Page 66 of 91 Page ID #:66
02/18/2019    05:15 PM PST          T0:17619940563 FROM:9512965287            Page:    8




                   TEMEKU CHIROPRACTIC ORTHOPEDIC
                               CLINIC


                                          SOAP :NOTES LEDGER


             The number system is based on the United States Air Force system for daily/weekly
             therapy.        ·

             Patient days of therapy is stamped or written in at the top of the chart.

             MAJOR COMPLAINTS is the subjective complaints told by the patient's daily noted by
             a nwnber system 10 through 1.
             Complaints being headaches, C/S P ~ cervical spine pain, LISP= lumbar spine pain,
             Ann (L)(R) T P= arm left and right tingling & pain, Ect.

             FINDINGS are objective findings felt by the doctor hands on daily noted by the number
             system. Example is tender C/S para= tenderness of the cervical spine para-spinal muscles.
             These findings should be close the subjective complaints daily.

             TX Procedures is the chiropractic adjustment or spinal manipulation made to different
             spinal areas, cervical, thoracic, or lumbar, noted by a check that it was performed.
             TP=trigger point manual therapy, RP= rapid release/ myofascial release. VM= vibratory
             massage.

             Therapy is the type of modality or therapy procedure that was done on that day. HP= hot
             pack, ice=ice packs, EMS= electrical muscle stimulation, Ls= cold laser therapy and Ex
             Rehab= exercise rehabilitation.

             Time: hot packs or ice is put on with electrical muscle stimulation for 20-30 minutes;
             multiple areas may be perfonned at once. Laser therapy is utilized 8-12 minutes per area.
             Exercise is kinetic with weight bearing increase perfonned on nautilus, cybex or other
             exercise machines for an additional 20-30 minutes.




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   Case 5:20-cv-02486-JGB-SHK
    RECEIVED                        Document 1 Filed
             02/18/2019 06:45PM 17606375087           11/30/20
                                                   JACOB STIPP Page 67 of 91 Page ID #:67
02/18/2019                   05 : 15 PM PST                       T0:17609940563                          FROM:9512 965287                                               Page:


        TREATING DOCTOR: ~ ~ --                                                REFERRED BY:                                                               ATIY NAME:
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 Lacombe, Monica [159081]      Case 5:20-cv-02486-JGB-SHK Document 1Synergy
                                                                      Filed 11/30/20 Page 68 of 91 Page ID #:68                              Page:                 1
 44676 Springvail Ct                                      Account Information Report                                                         Date:        01/24/2019
 Temecula, CA 92592                                                          Patient Summary                                                 Time:       10:14:24 AM


                                                                           Account Information
           Account Balance                                  Credits                                    Claims                      Last         Date        Amount
       Patient                 $905.52                  Patient                 $0.00          Submitted           $3,917.00    Statement   12/07/2018      $905.52
    Insurance                    $0.00                Insurance                 $0.00         Suspended               $0.00      Payment    09/25/2018        $0.00
        Credit                   $0.00            Undetermined                  $0.00             Suspended from AR               Charge    08/13/2018    $1,934.00
Total Account                  $905.52                 Pre-Pay                  $0.00     Suspended AR                $0.00
                 Collections
Collections Balance              $0.00                    Total                 $0.00




                                                                      Account Aging
                                                        0 to 30        31 to 60          61 to 90      91 to 120        121 +
                                         Patient:       $ 0.00         $ 0.00            $ 0.00        $ 905.52        $ 0.00
                                         Insurance:     $ 0.00         $ 0.00            $ 0.00         $ 0.00         $ 0.00
                                         Total:         $ 0.00         $ 0.00            $ 0.00        $ 905.52        $ 0.00




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Lacombe, Monica [159081]    Case 5:20-cv-02486-JGB-SHK Document 1Synergy
                                                                   Filed 11/30/20 Page 69 of 91 Page ID #:69                          Page:                 2
44676 Springvail Ct                                    Account Information Report                                                     Date:        01/24/2019
Temecula, CA 92592                                                          Include:All                                               Time:       10:14:24 AM
                                                                   Show: Unexpanded Details

Posting Date Service Date   User   Description                                                                                        Amount         Balance


12/07/2018                  CD     NOTE: System generated statement printed on 12/7/2018
11/09/2018                  CD     NOTE: System generated statement printed on 11/9/2018
10/15/2018                  CD     NOTE: System generated statement printed on 10/15/2018
09/25/2018                  ES     Contractual Adjustment [1,523.86] Blue Shield BlueCard Program; Insurance Plan ID: 2899 (ERA)      ($1,523.86)
                                   Batch: 18273 2018 09-25 $24,954.37 EFT
09/25/2018                  ES     Insurance Payment [0.00] Blue Shield BlueCard Program; EFT; 3383540114; Insurance Plan ID:         $0.00
                                   2899 (ERA)
                                   Batch: 18273 2018 09-25 $24,954.37 EFT
09/25/2018                  ES     Contractual Adjustment [1,487.62] Blue Shield BlueCard Program; Insurance Plan ID: 2899 (ERA)      ($1,487.62)
                                   Batch: 18273 2018 09-25 $24,954.37 EFT
09/25/2018                  ES     Insurance Payment [0.00] Blue Shield BlueCard Program; EFT; 3383540114; Insurance Plan ID:         $0.00
                                   2899 (ERA)
                                   Batch: 18273 2018 09-25 $24,954.37 EFT
08/13/2018   08/13/2018     SG     73221 [1,934.00 x 1] Billable: Lizerbram, Eric MD; Rendering: Lizerbram, Eric MD                   $1,934.00        $446.38
                                   Practice Location: Synergy MRI; Service Location: Synergy MRI; Referring: Myer, Jonathan MD
                                   [719.43; M25.531] CoPay: $0.00; Visit Type: Procedures; Visit ID: 145355; Stmt Recipient: Monica
                                   Lacombe
                                   Magnetic resonance (eg, proton) imaging, any joint of upper extr
                                   Batch: 17982 2018 08-13 MRI Charges Gfrye
08/13/2018   08/13/2018     SG     72141 [1,983.00 x 1] Billable: Lizerbram, Eric MD; Rendering: Lizerbram, Eric MD                   $1,983.00        $459.14
                                   Practice Location: Synergy MRI; Service Location: Synergy MRI; Referring: Myer, Jonathan MD
                                   [723.1; M54.2] CoPay: $0.00; Visit Type: Procedures; Visit ID: 145354; Stmt Recipient: Monica
                                   Lacombe
                                   Magnetic resonance (eg, proton) imaging, spinal canal and conten
                                   Batch: 17982 2018 08-13 MRI Charges Gfrye




                                                                             69
 Lacombe, Monica [158827]      Case 5:20-cv-02486-JGB-SHK Document 1Synergy
                                                                      Filed 11/30/20 Page 70 of 91 Page ID #:70                               Page:                1
 44676 SpringvaleCourt                                    Account Information Report                                                          Date:       02/15/2019
 Temecula, CA 92592                                                          Patient Summary                                                  Time:       6:41:22 AM


                                                                           Account Information
           Account Balance                                  Credits                                    Claims                       Last         Date       Amount
       Patient                 $249.79                  Patient                 $0.00          Submitted           $1,496.00     Statement   01/24/2019     $249.79
    Insurance                    $0.00                Insurance                 $0.00         Suspended               $0.00       Payment    08/28/2018       $0.00
        Credit                   $0.00            Undetermined                  $0.00             Suspended from AR                Charge    09/06/2018     $315.00
Total Account                  $249.79                 Pre-Pay                  $0.00     Suspended AR                $0.00
                 Collections
Collections Balance              $0.00                    Total                 $0.00




                                                                      Account Aging
                                                        0 to 30        31 to 60          61 to 90      91 to 120        121 +
                                         Patient:       $ 0.00         $ 0.00            $ 0.00        $ 214.23        $ 35.56
                                         Insurance:     $ 0.00         $ 0.00            $ 0.00         $ 0.00         $ 0.00
                                         Total:         $ 0.00         $ 0.00            $ 0.00        $ 214.23        $ 35.56




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Lacombe, Monica [158827]    Case 5:20-cv-02486-JGB-SHK Document 1Synergy
                                                                   Filed 11/30/20 Page 71 of 91 Page ID #:71                            Page:                2
44676 SpringvaleCourt                                  Account Information Report                                                       Date:       02/15/2019
Temecula, CA 92592                                                           Include:All                                                Time:       6:41:22 AM
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Posting Date Service Date   User   Description                                                                                          Amount        Balance


01/24/2019                  CD     NOTE: System generated statement printed on 1/24/2019
12/07/2018                  CD     NOTE: System generated statement printed on 12/7/2018
11/09/2018                  CD     NOTE: System generated statement printed on 11/9/2018
10/15/2018                  CD     NOTE: System generated statement printed on 10/15/2018
09/18/2018                  ES     Contractual Adjustment [244.44] Blue Cross; Insurance Plan ID: 1017 (ERA)                            ($244.44)
                                   Batch: 18199 2018 09-18 $27,668.76 EFT
09/18/2018                  ES     Insurance Payment [0.00] Blue Cross; EFT; 3383162174; Insurance Plan ID: 1017 (ERA)                  $0.00
                                   Batch: 18199 2018 09-18 $27,668.76 EFT
09/13/2018                  CD     NOTE: System generated statement printed on 9/13/2018
09/06/2018   08/28/2018     DA     99213 [315.00 x 1] Billable: Myer, Jonathan J. MD; Rendering: Myer, Jonathan J. MD                   $315.00          $35.56
                                   Practice Location: Sorrento Valley Office; Service Location: Sorrento Valley Office
                                   [M25.511, M50.30] CoPay: $0.00; Visit Type: Office Visit; Visit ID: 148571; Stmt Recipient: Monica
                                   Lacombe
                                   OFFICE/OUTPATIENT VISIT EST
08/28/2018                  DA     Contractual Adjustment [554.65] Blue Cross; Insurance Plan ID: 1017                                  ($554.65)
08/28/2018                  DA     Contractual Adjustment [109.26] Blue Cross; Insurance Plan ID: 1017                                  ($109.26)
08/28/2018                  DA     Contractual Adjustment [116.78] Blue Cross; Insurance Plan ID: 1017                                  ($116.78)
08/28/2018                  DA     Contractual Adjustment [151.08] Blue Cross; Insurance Plan ID: 1017                                  ($151.08)
08/28/2018                  DA     Insurance Payment [0.00] Blue Cross; EFT; 3381979824; Insurance Plan ID: 1017                        $0.00
08/28/2018                  ES     Insurance Payment [0.00] Blue Cross; EFT; 3381979824; Insurance Plan ID: 1017 (ERA)                  $0.00
                                   Batch: 18076 2018 08-28 $29,584.40 EFT
08/28/2018                  KR     Patient Payment [35.00]; Credit Card - Visa; COPAY                                                   ($35.00)
08/07/2018                  DA     (VOIDED) Contractual Adjustment [556.24] Blue Cross; Insurance Plan ID: 1017                         $0.00
                                   Batch: 17983 2018 08-07 Myer Office Charges
08/07/2018                  DA     (VOIDED) Contractual Adjustment [106.23] Blue Cross; Insurance Plan ID: 1017                         $0.00
                                   Batch: 17983 2018 08-07 Myer Office Charges
08/07/2018                  DA     (VOIDED) Contractual Adjustment [137.70] Blue Cross; Insurance Plan ID: 1017                         $0.00
                                   Batch: 17983 2018 08-07 Myer Office Charges
08/07/2018                  DA     (VOIDED) Contractual Adjustment [177.68] Blue Cross; Insurance Plan ID: 1017                         $0.00
                                   Batch: 17983 2018 08-07 Myer Office Charges
08/07/2018                  DA     Insurance Payment [0.00] Blue Cross; Check; Insurance Plan ID: 1017                                  $0.00
                                   Batch: 17983 2018 08-07 Myer Office Charges
08/06/2018   08/06/2018     DA     72040 [189.00 x 1] Billable: Myer, Jonathan J. MD; Rendering: Myer, Jonathan J. MD                   $189.00          $37.92
                                   Practice Location: Sorrento Valley Office; Service Location: Sorrento Valley Office; Referring:
                                   Myer, Jonathan MD
                                   [M47.812] CoPay: $0.00; Visit Type: Office Visit; Visit ID: 144554; Stmt Recipient: Monica
                                   Lacombe
                                   Radiologic examination, spine, cervical; 3 views or less
                                   Batch: 17979 2018 08-06 Myer Office Charges



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Lacombe, Monica [158827]    Case 5:20-cv-02486-JGB-SHK Document 1Synergy
                                                                   Filed 11/30/20 Page 72 of 91 Page ID #:72                           Page:               3
44676 SpringvaleCourt                                  Account Information Report                                                      Date:      02/15/2019
Temecula, CA 92592                                                          Include:All                                                Time:      6:41:22 AM
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Posting Date Service Date   User   Description                                                                                         Amount       Balance
08/06/2018   08/06/2018     DA     73030-LT [147.00 x 1] Billable: Myer, Jonathan J. MD; Rendering: Myer, Jonathan J. MD               $147.00         $30.22
                                   Practice Location: Sorrento Valley Office; Service Location: Sorrento Valley Office; Referring:
                                   Myer, Jonathan MD
                                   [M47.812] CoPay: $0.00; Visit Type: Office Visit; Visit ID: 144554; Stmt Recipient: Monica
                                   Lacombe
                                   Radiologic examination, shoulder; complete, minimum of 2 views
                                   Batch: 17979 2018 08-06 Myer Office Charges
08/06/2018   08/06/2018     DA     73070-RT [137.00 x 1] Billable: Myer, Jonathan J. MD; Rendering: Myer, Jonathan J. MD               $137.00         $27.74
                                   Practice Location: Sorrento Valley Office; Service Location: Sorrento Valley Office; Referring:
                                   Myer, Jonathan MD
                                   [M77.11] CoPay: $0.00; Visit Type: Office Visit; Visit ID: 144554; Stmt Recipient: Monica Lacombe
                                   Radiologic examination, elbow; 2 views
                                   Batch: 17979 2018 08-06 Myer Office Charges
08/06/2018   08/06/2018     DA     99204 [708.00 x 1] Billable: Myer, Jonathan J. MD; Rendering: Myer, Jonathan J. MD                  $708.00        $118.35
                                   Practice Location: Sorrento Valley Office; Service Location: Sorrento Valley Office; Referring:
                                   Myer, Jonathan MD
                                   [M47.812, M77.11, M25.531] CoPay: $0.00; Visit Type: Office Visit; Visit ID: 144554; Stmt
                                   Recipient: Monica Lacombe
                                   OFFICE/OUTPATIENT VISIT NEW
                                   Batch: 17979 2018 08-06 Myer Office Charges
08/06/2018                  KR     Patient Payment [35.00]; Credit Card - American Express; copay; CoPay VisitID: 144554               ($35.00)




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RECEIVED
Case      12/13/2019 04:52PM 17606375087
      5:20-cv-02486-JGB-SHK      Document 1 FiledJACOB
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                                                       STIPP Page 73 of 91 Page ID #:73
                                                               RECEIVED    12/13/2019 01:15PM
   12/1~/2019 02:30PM 17606375087                        JACOB STIPP                                         PAGE 01/04



  e               ;2~~!1N~!~D~I~
        ~Sent via Fax .
        '.December 13, 2019

        , Spine & Pain Management
        (320 Santa Fe Drive, #308
        j Encinitas, CA 92024
        '. Fax: (760) 230..6566

                  Re:     Cllent                 : Monica Lacombe
                          DOB                    : 4128/1969
                          DOI                    : 7122/2018
       i..
       ·r    Dear Custodian of Records:

              This firm has been r~tained by Monk.a Lacombe, in connection with the utjuries sustained
       : from a Premise Liability on 7/22/2018.

       :         Please provjde copies of all mediql n¥2tdl (including but not limited to emergency
       : records, doctor's notes, nurse's notes, I&diology reports, histozy and physical, consultations,
       / disehai'ge swnmaric:s., care plans, charts, etc.) relating to any and all t:reatmmt of our client
       i Monica Lacombe begmninc; July 22, 2013 through p.-esent. Please also provide all !!!.m!m
       : r~ords from 7/.22/2018 through the present

       ,       Enclosed y()u will ftnd a HIPAA CompliantA'othori=tlon for the ReleQe of Health Records.
       ; Of coutse, we will happily reimburse your office for all copying costs. Please be advised that
       1 pursuant 'to tl1e 2009 Hitech Act, which amended HIPAA' s Privacy Rul~ created a "Right of
       1 Ac.cess that allows patie.ttts to quiok1y aCJCess electr0.nio copies of medical records at little or no
                  07



       ; cost to them. Specifically, ~ HITECH ACT requires all lilPAA covered entities und their
       : business assoeiate3 to fumish electronic copies of such medical record(s) to a patie!D.t:, or third party
       : of the patient'$ choosing, within 30 days of the receipt of the "Right of Access" request The
       ! covered entity ol' business associate is permitted to charge a "reasonable, cost-based', fee of$6.50
       : for such electronic ~opy, regardless oftbe length/content of the medical record.
              Please send all available records via email to: jake@stipplawfirm.com; via fax to: (760) 994-
       \ 0563, or via mail to our Carlsbad office. Please do not hesitate to contimt me if you have any
       : questions.


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                            Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 74 of 91 Page ID #:74


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                                                                                   Keeran Kumar MD                                                                                                          rn
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                                                                       Patient Procedure Summary
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                                                                                 Monica Lacombe (8885}                                                                                                      C,
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         NEUROLOGICAL AND PAIN INSTITUTE                                 ~ MasterCard
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         LA MESA CA 91942-3199                                                                                  SIGNATURE                                                                     EXP. DATE
         RETURN SERVICE REQUESTED
                                                                                                                       STATEMENT DATE                         PAY THIS AMOUNT                           ACCT. #
          BILLING QUESTIONS:                      (858) 842-1187                                                               12/02/19                            730.48
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         Monica Lacombe                                                                                              NEUROLOGICAL AND PAIN INSTITUTE
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         Temecufa, CA 92592- 1865                                                                                    8851 CENTER DRIVE
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?lease check box if above address is incorrect or insurance                                                                     PLEASE DETACH AND R ETURN TOP PORTION WITH YOUR PAYMENT
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          PLEASE REMIT TO:                        NEUROLOGICAL AND PAIN INSTITUTE                                               ACCOUNT NUMBER:                                18245
                                                  STE 608
                                                  8851 CENTER DRIVE
                                                  LA MESA CA 91942-3199                                                          PLEASE PAY
"?:                                                                                                                              THIS AMOUNT                                    $730.48
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 Case       03/18/2019 11:16AM 17606375087
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                                                  JACOB STIPP Page 76 of 91 Page ID #:76
Hdr 18 2019 13:47:01 Vid Fdx                        ->                    1?606375BB? Vonage                                         Page 001 Of 022




                                                          FAX COVER SHEET
                                                                           From: Rehab Group Temecula
           To:
                                                                           <therehabgroup951@gmail.com>

           Company:                                                        Date: 03/18/1901 :46:21 PM

           Fax Number: 17609940563                                         Pages (Including cover): 22

           Re: Lacombe, M



           Notes:

           Jacob,

           Please find the requested infonnat:i.on for: Monica Lacombe. Please feel free to contact me if you have any
           questions. Thank you.

           part 1 of 2



           Leslie
           The Rehab Group
            (951) 719-8155 Phone
            (951) 302-8155 Fax

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                                                JACOB STIPP Page 78 of 91 Page ID #:78
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  TH.E REHAB GROUP-TEM
  31741 TEMECULA FARI<WAY
  SUITE C
  TEMECUl.A. 1 CA 92592-9804
                                                                                             INVOICE# "/8'7203008
                                                                                      ACCOUNT# OF GUARANTOR:


                                                                                                 r-ATIENT ACCOUNT#
                                                                                                 fAtIENT: T..ACOMBE,
                                                                                                                   MONlC~
                                                                                                 OATE Or SERVlCE: 09-07-18
                                                                                                 FLE:ASE PAY S0.00
                                                                                                                            -
                                                                                                                DATB: Mar-0~-2019




                                                                            Signature
                                                                            E><p. Date _     /
                                                                            cct                                                     CID# _ _-
                                                                                 VISA --MC             ~CHECKil _ _ _

    l'JONICA LACOMBE
    44676 SPRINGVAIL CT                                                     PAY TO: THE REHAB GROUP.-TEM
    TEMECULA, CA 9.2592                                                             40680 CALIFORNIA OAKS RD
                                                                                    SUITE 2~
                                                                                       MURRIETA, CA 9Z56i-9773

  -------------------~--------cut Rexe, Jleturn ~ove Portion With PQyment                        J------------------------~·------------
  l»\'l,'E   DESCRJ:l'TION                                                                                CIIARG&S   PA:ooi:N'1S/    BALANC&
                                                                                                                     Al>JtJSTMSNTS
  PATIElft': LACOMBE, KClittCA     ACCTt 342i2970

  og-07-18 97161 EVALtJATrOk LOW                                                                          $1SO.Oil                   $!50.00
  09-07-18 PATIENT COPAY AT orrrcE ~tSIT - VISA                                                                        $45,00        $10S.OO
  10-16-18 ~YMEN'l' BY BLUE CROSS OJ' CAl.lli'OPJtill. (CAJ                                                            S3D.D0         $7f>,OO
  10-16--18 AD.111~ 13Y BLUE CROSS O!' CALIFOltNIA CCAJ                                                                $75.00          $0,00

  09-07-18 97110 THllU\PSO!PIC l'll: l ARElU. KACH l5 MIN EXli:RCISES                                     $130.00                    $130.00
  10-16--18 PAYHEN'f Bl! .8l.UE CROSS 01' CALIFORNIA (CA)                                                              S!,2,50        S7i .SO
  10-16-18 Ati.JUSfflEH'r BY BLD£ CROSS O!' CI\LIFORll'IA (CA)                                                         ssei.oc        $22,50
  10-26-18 Al'PL'r ACCOUNT CRBOIT                                                                                      $22.SO          so.oo
  0,-.07-18 97140 - MIUWAL THUA9Y TQS l 11EGIOlfS EAQI lS MINU'l'ES                                       $130.00                    $130.00
  10•16-18 PAYHEll'r BY BLOB CROSS OF CA1.oU'01UfIA (CA)                                                                 so.oo       $130.00
  10-16-18 .ADJUS!MEHT BY 111.UE CI\OSS       or
                                              CALil!'ORNIA (CA}                                                       $130.00          .$0.00
  1.0•U•18 DICI ?JO'l' PAY ON '1'HB CJlAP.GE.
  09-26-18    97110 Tllt!IAPBU'l'IC PX l 1\REIIS   l!:lCB   lS   NI. EXERCISES                            $130.00
                                                                                                                        $4.5.00
                                                                                                                                     $130,00
                                                                                                                                      $8S,OO
  10-08-18   PMISRT COPAY • O'l'HER
  10-10•18   l'AYMENT BY SLOE CROSS OF CALIFOl!NIA [CA)                                                                 330,00        $55.00
  10-10-18   AD.:IUST.HBl'f BY .8LUB CROSS Ot CALIF011NIA (CA)                                                          S5S,00         $0.00
  09-26-18 97140 - lWIQAJ, THBRAPY TQS 1 IUiGIOIIS BACH U Mll!UTBS                                        suo.oo                     $l30.00
  10-H•18 l!'A'fflSIIT BY BldJB CROSS 01!' CJU,If'ON'llA (CA)                                                            $0.00       $130,00
  10-10•18 AOOOB~ BT BLUE CROSS OP CJU.I!'ORN:tA !CAI                                                                  $130.00         so.oo
  10-10•18 DID IIOl' l'AY OIi THE CHARGE

  09-26-18 Al'1'L MODJU.I'l'Y 1/ ARli'AS ELBC STIMJ URAnan&o                                               $30.0D                     $30.00
  10•10-.18 PAYIIER'l' BY BLOB CIIOSS OF CALIFORlltA (CAl                                                                $0.00        $30.00
  10-10-18 ANVSfllElff BY 8l,OS CROSS OF CALIFORNIA ICAI                                                                $30,00         $0.00
  10•10•1e DIP ll01' P.AY OB THI C1D1RGS
  10-0~18 91110 TIW\UEU1'IC PX 1 AREAS aCH. lli Ntll EKDCIUS                                              '130,00                    030,00
  10-23-18 l'A!tlDIT JY Bltf1Z caoss OF t:Al.?FOIINIA lCA)                                                              $~2.SO        $'17.50
  10-Z3-18    ~              BY BLUB ca.oss OF QI.IF01UfIA ICA)                                                         $~:;.oo        $22,SO
  10-26-18    Attl,f ACCOUlll'  cttBDl'l'                                                                               $22,SO          90.00
   10-05-10 97140 - IINIVAI, TB&EU\l'Y '1'QS 1 RBCXOIIIS DCB 1S Mitftl'l'ES                               $130.00                    $130.00
   10--23-18 i'An.mff BY BJ.UC CII08B    orCllllln>MU {CA)                                                                ,o.oo      $130.00
  10-23-18 AD.111St'IIZll'l' BY JSWi CAOSS O!' CALil'OIUIXA ICll.l                                                     $130.00         $0.00
   10-23•18 PJD 1IOl' .PAY OJI Tlli t;fllWill:

   10-0~•18 APll'J. llfDl2Af.Xft 1/ AUN!
                                       m..BC HDIJ OllA'M'ZMDBD                                              $30.00                    $30,00
   10-23-18 tA<aaar Blt 8LOJ; CIIOSS OJ' CALZl'OlllflA (CAJ                                                              $0,00         UO,OQ
   10-:U-1.8 ADJUlmCIIIT     ar sr.us caou or CM.Xl'OIUll"         (CAI                                                 $30,00          ,o.oo
   10•2$•1.8 l>JD lrO'l' tJl.'I 08 'IHS CHUa1S

   lO•l0-18 1,110 '811MPBUflC ,X 1 ABU8 RCll 11 llllf llQJ\Cr&SS                                          $130.00                    $130.00
   10~:1.0-18 b1'1D%    ~y n       OfflCIII   non -      CUR                                                            ,45,00        f8$,00
   10-3a-J.e PAYNIIIII' 8Y m.ua CRCSI or ~ll'OMUI (CAI                                                                  SJ0,00        us.oo
   10-30•18 aa.J\J8ftfa't BY 81,0S Cao88 OB' CAL%2'01U1%A ICA)                                                          $55.00          $0.00
                                                                       79
  RECEIVED
Case       03/18/2019 11:16AM 17606375087
     5:20-cv-02486-JGB-SHK                      JACOB
                                  Document 1 Filed    STIPP Page 79 of 91 Page ID #:79
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  'fHE R£HAB G~OUP-TEf,I
   31741 TEMECULA FA.RI<WAY
  StlITE C
  TEMECULA, CA 92592-9804
                                                                                       INVOICE# 1B7203008
                                                                                 ACCOUNT# OF GUJ!..AANTOR:



                                                                                          PATIEN'l' ACCOUNT# . . . . . .
                                                                                          PAT1EN't: LACOMBE:,~
                                                                                          DA1'E OF    SF:rwrct:
                                                                                          PLF.ASE PAY $0.00
                                                                                                                          -
                                                                                                           DATE: Ma:r-C'.:i-2o; 9


                                                                                                                      09-01-J.!3

                                                                        Signatur.e
                                                                        Exp.Date __ / __
                                                                                                                                 CI 1)4 _______ _
                                                                        CC#·---
                                                                         VlSA _MC                 __ CHECK#

    MONICA LACOMBE
    ~4676 SPRINGVAIL CT                                                 PAY TO: THE REAAB GROUP-TEM
    T~COUI., CA 92592                                                           40680 CALIFORNIA OAKS RD
                                                                                SUITE 2A
                                                                                MURRIETA, CA 92562-9773

  -----------------------~----~Ctlt Hef.'<I ~ Ret.ur.n Above POrtion W.J.t;h 1'<1ymont ••------------------·----····--·· .. ,·,,"·"-----

  D1!.TE       OtSCl<ll:'TION                                                                        Cill\RGE:S   l'AYNel?IT$/       BALANCE
                                                                                                                  11!),TO&Tl'-ENTS


  10-10-18     97140 - MIWUAL TKE11Al"l TQS t l\ll:Gl0N5 IS!\CH 15 MINUTiS                          suo.oo                           Sl30.00
  l0-30-18     PAYMENT BY BLUE CROSS OF CALIFOIUfJI\ (CA)                                                             $0.00          5130.ilO
  10-30-18     AD,7U'SfflENt DY JlL11E CROSS Of" CALIFO!Ulll\. {CA)                                                $13Ci,00            so.oo
  10-30-18     DID NOT PAY ON TnE CHARGE

  1.0-10-18 APl?t "IOMLITl:' 1/ MEAS 'l'RAC'l'tON MECHANICAI.                                        $30.00                           ~J0.00
  10-30-}8 PAYMEN't BY BLUE CP.OSS OF Cl'\LIFOR!llA (CA)                                                              ~o.oo           $30-00
  l0w30-18 ADJUS'l:!IENT BY BLUE CROSS OF CALlFQRNIA {Cl\)                                                           $30.0G            so.co
  10-30-18 DlD NOT PAY ON THE CHARGE
  10-12-lB     97110 '1'HER11,&0TIC PX l A!IEAS EACH 15 MIN EXERCISES                               e130.oo                          $130.00
  10-30-11:l   PAYMENT SY llt.Ult CROSS 0-e' CIU.lFOEIIIIll, (Cl\.)                                                  $52.50           $"l7   .50
  10-30-18     AllJUSTMIJNT BY Stu£ caoss OF CALli'ORNIA CCA)                                                        S55.00           $22.SO
  ll-l.9•1B    APPLY ACCOUNT CRSOIT                                                                                  $22.50            $0.00

   10-12-18    97140 - M,IUill;lU, THB~PY TQS l REGIONS !:ACH 15 MINUTES                            $130.00                          Sl30.00
   10-30-18    PA"lMEN't BY BLUE CROSS OF CALIFORNIA (CA)                                                            $0.00           Sl30.00
   10w30-18    ADJUS'tMBNT BY BLUE CROSS OF CALlFoRNlA {CA)                                                        $130.00             :;o,oo
   10-30-18    DID NO'l' l'AY ON THE CHARGE

   10•12·18 APPL MOPALI'l'Y 1/ AlWiS Tl!l'.C'l'I()t,l MEC:HlllllCAL                                  $)0.00                           $30.00
   10-30-18 PA:tMEN'.I' BY 'BI.OE CROBS OF CALUORNIA (CA)                                                             $0.00           S30.00
   10-30-18 ADJUSTMENT BY BLO~ C.ROSS OF CALI;'O~tA (CA)                                                             $30,00            so.oo
   10•30-lB DID NO'l' PAY ON THE CtillltGE
   10•1S-l8    91110 THBRAP~OTIC PX 1 AlltAS EACH 15 MIN f:XERCISES                                 $130.00                          $130.00
   10•15-18    PATIER'f COPAY A~ OFFICE VISit - CASH                                                                 $4S.OO           $8S.OO
   10-30-18    PAYl'EHT BY BLUE c~oss OF CALI11'0RNlA (CA)                                                           $30.oO           $55.00
   10-30-18    AD3USTMilfT BY BLUE c~oss OF CALiliO!\NIA (CA)                                                        S5S.OO            $0.00

   10-1~•18 97140 ~ MANOAL THERAPY TQS l REGIONS E:ll.CH lS MINUTES                                 Hlo.oo                           $1J0,00
   10•30-18 .PJ\XMEN'l' BY 81,UE CROSS OF CM.U'OllNIA (CA)                                                             so.oo         $130.00
   10•30-18 Al)JOSTMEN'I' BY BLO.: CROSS OF CALIFORNIA (CA)                                                         $130.00             so.oo
   10-30~18 D1D MOT PAY ON 'l'H~ CHARGE
   10-15-18    APPL KOOlU.,J'l.'Y' l/ AAV.8 '?RACTION $CHANICAL                                       $30.00                          $30.00
   10•30-18    li'AlME!ff .BY BJ..11E CROSS 0~ CALIF011NIA {CA)                                                        $0.00          $30.00
   10-30-18    M)JUS'flm!T B1t BLOB CROSS or C1ILIF0RNU (Cl'.)                                                        $30.00           $0.00
   10•30-18    Dt~ ~c:,r PAY ON ~HE CJIARGZ

   10•17-18 97110 'tll$~P~UTIC PX l ~REAS ll:ACll 15 MJN EXERC1SZ$                                   $195.DO                         $'l95.00
   11-06-18 PAlU!IT BY SJ.tJE cooss or Cl1LU'Ol1NI1I (CA)                                                            $52.50          $l42 .50
   11-06-18 ADJUSTIWl'l BY BLOf; CROSS or CALIFORNIA (CA)                                                           $120.00           $22.50
   11-19-18 APPl,Y ACCOVll'l' Clli:DIT                                                                               $22,50             $0,00

   10-17-10 ~7140 - MJUIUAL TIIZJUll'Y TQS 1 REGIONS Ji:ACij 15 Kll!IUTES                             $6S.OO                          $6&.00
   11-06-18 l'Anmff B1C ar.oa. eaosa Op' CJU.IB"ORIIIA COAi                                                            $0.00          ,65.00
   11-06-lS ADJUB~ BY SLO~ CRC8B OJ' Cll.I,IFORNIA (CJ\I                                                             $65.00            $0.00
   11-06-1~ DtD tlOt PAY Off 'l'IIZ Cl!l\ll.GE
Case  5:20-cv-02486-JGB-SHK
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            03/18/2019 11:16AM 17606375087         11/30/20
                                                JACOB STIPP Page 80 of 91 Page ID #:80
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                                                                                                 INVOIC~~ 787203008          PAGE.:.;
                                                                                             ACCOUNn Of GlJA.RANTCJR:
  THE REl-iAS GROU!?-TEM                                                                                        DATE: Mar.-Oj-2.0l9
  31741 TEMECULA PARliWAY
  SUl'.rn C                                                                                        !'ATIEN1' ACCOUNTli -
  !EMECVLA, CA 92S92-9804                                                                          l?ATJ.£N'.t'; V\COMBE, MONICA
                                                                                                   DATE OF SERVTCF.:: 09-0-,-1.8
                                                                                                   PLEASE PAY $0.00
                                                                                    Signi.J.ture
                                                                                    Exp.Date ~ j _ _
                                                                                    CCII
                                                                                    ___VISA _MC          ~CHECI<ll _ _ _

    MONICA Ll\COMBE
    44676 SPRINGVAIL CT                                                             PAY TO: THE REHAB GRO~P-TtM
    TEMECULA, CA. ~2592                                                                     40680 CALl~O~NIA OAKS RD
                                                                                             SUITE: 2A
                                                                                             MURRIETA, CA 92552-9773


                                                                                                           CRARGES   PAYMENTS/       Ba.I.Af!GE
                                                                                                                     I\DJUSTMillTS
  10 ·•   n -18   /!PPL MODl\1,ITY l /   AAl':AS IG.l.EC ST tMJ !l~AT1'.ElN1l&D                            s,o.oa                     ,~o.oo
  lt-OG-18 FA'YM£N! BY BLOE CROS& OF CALf.ORNJ~ \CAI                                                                     $0 ,(i(j     S30.00
  11-06-la ADJUSTMENT BY BLtlE CROsS OF CALr~O!INIA \Cl\)                                                               s::ro.oo         $0,CO
  ll-06-18 D10 NOT PAY ON THB C!!ARGE
  l0-22-18        97110   THERAPEUTIC PX l AREl\S EACff 15 Mlll li:XEP.CISES                              $195.00                    Sl9S.OO
  10-22-19 l'l'.TXENT COPAY AT OFFICE V1:S1'l' - CASH                                                                   S4S,00       !iiso .eo
  11-G6-19 PIIYMEN'l' BY .IU.OE CROSS OF CAI.I.li"'OJUUA (CA)                                                          $30.0<J       $120,00
  11•06-18 AD.ll1STHENT BY llLUE CROSS OP' CAtIFOP.NlA (CA)                                                           $120.00            ii.o.oo
  10-22-18        97140 - MANUAL TRERI\.PY TQS t REGIONS EACH 15 M!NUTES                                   >65.00                       $6S. 00
  11-06-18        PAYMENT BY &LOE CROSa OF c~~lFORRJA (CA)                                                               so.oc          $65.00
  ll-06-18        Jr.DJUSTMENT BY SLUE CROSS OF OAL!FORN'!A (CA)                                                        $6!:>.00         S().00
  11-06-lB        CIEi NOT PAY QI 'l'HE CHARGE:
  10-22-18        APPJ. MODALITY 1/ :!\REAS E:L£C STIMv tmATTENDED                                         no.on                        $30.00
  11-06-l&        Plln!ENT Br BLUE ~ s OF CALIFORNtA /C;\J                                                               $0.00          $30.00
  ll-06-18        ADJUSTIISNT BY BLUE CROSS OF CALIFORNIA (CA}                                                          $30.00           $0.00
  ll-06-18        DID MOT PAY ON T~E C»A~G~
  10-24-18        97110 THERAPEt71'IC PX 1 ARltllS E:l>.CH 1S MIN EXERCISES                               $195.00                    U9.S.OO
  ll.-06---18     PAYM!:NT BY Bl.OE CROSS OF CALIFORNIA !~)                                                            $52.50        $142.SO
  11•06-18        AD.1'0'S1'M2ll'l' BY BLUJ: CROSS OF CALIFORNIA !CA)                                                 $120,00           sa~.so
  03-05-l~        l\l'PLY ACCOl)NT CP.EPIT                                                                             S22.S0            $0.00

   10-24-18 97140 - NANOAL THERAPY TQS 1 REGIONS EI\CK 15 MINUTES                                           $65.00                      $~5.00
   11-06-18 PA~ BY SLOE: CROSS OF CJ\L!FORNIA (~)                                                                        $0.00          $65.00
   11-06-18 AOJDS'l'MJ:HT BY BLUE CROSS OF             CALlFO!UIIIl\ (Cl\)                                              $65.00           $0.00
   11-06-lJ DID NOT PAY ON t.KS Cl!Jl.RGE
   10•24•18 AePJ. IJIODALITY 1/ ARl:AS ELZC S'l'IM.:1 UlfATTf;?IDEEI                                        $30.00                      $30.00
   11-06-18 PAnlSll'r BY BLu& CROSS OF C'"-lFORNIA (CA)                                                                  $0.00          UD.00
   11•06-18 AOJUS'J:HSN'l' BY BLUE CROSS OF CAl,lFOBNIA (Cll)                                                           $30.00           $0.00
   ll-06-18 DID NO? PAY ON Tl!8 CHARGE
   11•09-18 97110 THERA~EUTlC .PX l AJlE1IS EACH 15 MIN EXERCISES                                          $195.00                   $19S.OO
   11•09•18 PATIDl'l' COPAY AT OM'lCll VISIT - cASH                                                                     $22.SO       $1?2.SO
   11-20-18 PA1'HBII! BY BL!Jf! CROSS or CIILIFORNlA (CA)                                                               $52.50       $120,00
   11-20-18 AJ>JUS'l.'IIEIIT BY BLUE CJOSS or CAu?FORNIA (CA)                                                         $120.00            so.oo
   ll-0~-18 97140 - KA!IUJI.L Tll2Rl',PY TQS 1 REGIONS EACH 15 MINUTES                                      $6S.OO                      $65.00
   11-20•18 f'AYHD'l BY aLU£ CJIOSS Oi' CALI,ORNIA {CA)                                                                  $0.00          $6$.00
   11•20•18 ADJU81'ME!iT BY BLUE CIIOSS OF CA~IFO!INIA (CA)                                                             $65.00           $0.QO
   ll-20-18 Of!) HOT PAY OH THE Cl!ARGE
   11•09-1&       APPL ~tTY 1/ AREAS TJUIC'l'ION NiCIIA.NICAL                                               S30.00                      $30,00
   11•20•18       i'Antzan' BY &LOS Cl10l1S OF CALil701IN1A (CAl                                                         $0.00          $30.00
   li-20-18       Al)JIJS'l'Jl8NT SY BLUI: Cll0:IS 0~ CALIFOJINlA (CAI                                                  $30,00           $0.00
   11•20-18       DID IIIOt PAi OS THC CHARGIO
                                                                                                           sus.oo                    '1!15,00




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Case 5:20-cv-02486-JGB-SHK
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                                                                                          INVOICE# 181203008~
                                                                                      ACCOtJNTi Of GUP.P.ANTOR: . . . . . . . .
   THE REHAB GRQOP-il:M                                                                                       D~TE: Mar-05-2019
   31741 TEMECULA PARKWAY
   SUUE C                                                                                    PATIENT ACCOUN'i'i
   TtMECUI.A, CA 92592p9804                                                                  P.ATlENT: L~COMB'E, MONtCA
                                                                                             DATE OF SEP.VICE: 09-0i-J.8
                                                                                             PLEASE PAY $0.00
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                                                                             __VISA _MC     ....,CHECKt__ _
                                                                                                                                     C:IDfl



    MONICA. LACOMBE
    44676 SPRINGVAIL CT                                                      P.~Y 70~ THE REHAB GROUP-TEM
    TEMECULA., CA 92592                                                               40680 CALlFORNlA 0-!U{S RP
                                                                                      StJU'E 2A
                                                                                      MURRtt~~. CA 92562-9773

   --------~-·-----------------cut Ke:te , Retui:n Abov1! Poz:c.ion IU.t:lt Payment ---· ..-----------------------------··-----
   D~TE:       DESCRlP'l'lo.11                                                                          C!IARCF.S   PAYMENT~/            RAt~Cf:
                                                                                                                    AD-.1t!S'l'MEN'l'S
   11•14-18 PA~lENT co,At AT OFFICE VISIT - CA&B                                                                       $4!1.00           h:io.oo
   11-28-18 W.YMFJIIT ll•~ Bl.OS CROSS OE' QLIFQIUIIA (Ct.)                                                            930.CO            S~2().0()
   11-28-18 Ao.7US'n!EN'1 BY &LUE CkOSS OF CIILIFORkT.A (<:Al                                                        $l:;JO.OO             ~o.oo
   11•14-16 97140 - HANDAL tHEM,PY ~OS l l\lilGIONS EACH 1!> Mrlf'vTtS                                  $65.00                            $6&.00
   11-28-18 PA?Mli:11'1' BY B:L'O'E CROSS OF CALIFOmllA CCA)                                                             $0,0C            $6S, 00
   11-2e,1a ADJtlSTM!:111 BY BLUE CROSS OF CAr.IFOR~I~ (CA)                                                            $65.00              $0,00
   11-28-18 DlD kO'l: ~y OIi tJU: CJIARG£
   11-14-18 APPL MOPAI.l'rll' 1/       MEAS 'l'JIAC'l'IOH MECHAN?CAt.                                   $30.00                            $30.00
   l1•28•ltl l'AYMSN'l' BY BLOB CROSS Of 01.lFORNIA (CA)                                                                 $0.00            $30.CO
   11-28-19 Al),i\J&'1'MJINT BY BLUE c~css or CALIFORNIA (CA)                                                          $30,00              io.oo
   ll-28-lB DID JOT PAY ONTHB C!IAlll.S
   11-21-1e 97164 l!B-~ttON                                                                             $ll5.00                          s12s.oc
   12•11•18 PAYMENT BY BLtl1! CROSS OF CAloliORNIA ICAl                                                                $S2.SO             $'12.50
   12-11-18 ADJIJSTIISllT BY BLUE CAOSS OF CALIFOJIIIIIA (CAI                                                          $50,0C             $2/l ,!10
   03-0S-19 APPLY ACCOtllll'l' Cl\iDIT                                                                                 $22,50              $0.00

   11-21•18    97110 T.litlU\l!'l;;UTIC PX l AREAS EACH 15 H15 SXEltCl&ES                               $130,00                          UlO.oo
   12•11•18    PAYMEN'l' Blf BLUE C[(()S8 OF CAI,IFOBNZA !CAI                                                            $0.00           $130,00
   12-11-1,a   ADJUS1'IJ8Nt Br BW£ ~ s OF CALIF01UIIA (CA)                                                           $130,00               Sll-00
   12-11-18    DIO M01' P~Y OIi THE CHARGE
   11-21-18 97140 - NJIIIUAt, 'l'Ht:EUU'Y T\lS l .RtGlO!IS P.CB 15 MINUTBS                               $65.CO                           $6S,00
   12-11-18 PADBH'I' BY Br.tit CROSS or CAL[FORIIIIA (CA)                                                                so.oo            $65,00
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   11•21·18 APP.L J4Qt>JU,l'l'1( l./   AREAS 'l'Rl\Ct:a:ON HECfll\NICAL                                  $JO.CO                           $30.00
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   12-11-18 AOJUS'?MBll't BY IJLUB CROSB OF CALJli'ORNfA (CA)                                                          $30,00              $0.00
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               'l'be above csates ot service bave been p.aid by yoQr ;i,nsurance, they have been
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               contact you.i: Phy,,ical fbarapy ottic& 9Sl.-7l9-Bl55, 1'bailk you


   o to 30 days ol.Cl            31 to 60 days old         61 to 90 days old         Ov&r 90 days old                 et.EASE PAX
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Case 5:20-cv-02486-JGB-SHK                    STIPP
                                         1 Filed 11/30/20 Page 82 of 91 PagePAGE 01/04
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0          ~~~~~!~U!~o~ ~u~
    Sent via Fax
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   · January 22, 2020

    Holly
    Keith & Company
    P.O. Box 21400
    El Cajon, CA 92021
    Fax: (619) 444-1740

           Re:     Client                : Monica Lacombe
                   DOB                   : 4/28/1969
                   DOI                   : 7/22/2018

     Dear Custodian of Records:

         This finn has been retained by Monica Lacombe, in connection with the injuries sustained
    from a Premise Liability incident on 7/22/2018.

          Please also provide all billing records from 7/22/2018 through the present for treatment
    at the Spine Institute of San Diego.

         Enclosed you will find a HIPAA Compliant Authorization for the Release of Health Records.
    Of course, we will happily reimburse your office for all copying costs.

         Please send all available records via email to: jak.e@stipplawfinn.com; via fax to: (760) 994-
    0563, or via mail to our Carlsbad office. Please do not hesitate to contact me if you have any
    questions.




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 Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 83 of 91 Page ID #:83

                                        LA JOLLA SPINE INSTITUTE MEDIC
                                              Patient Ledger
                                              Sorted By: Case Number


Entry    Date     POS Description                         Case Procedure   Document      Provider       Amount

LACMOOOO MONICA LACOMBE
              Last Payment: -281.25        On: 12/19/2019
572285   5/30/2019 11                                  10411   99205       1906060000      RR              850.00
572358   6/7/2019        BLUE CROSS - NATION was bil 0411      INSBILLED   1906060000      RR                0.00
575986   5/30/2019       LACOMBE, MONICA               104ll   CCPMT       1906060000      RR             -637.50
575987   5/30/2019       Adjustment                    10411   CASHADJ     1906060000      RR             -212.50
599136   8/10/2019      #0018128971 BLUE CROSS*** 10411        PPOPMT      1906060000      RR                0.00
599137   8/10/2019       Carrier 1 Deductible -$192.34 10411   OED         1906060000      RR                0.00
635591   12/19/2019 11                                 104ll   99215       2001010000      RR              450.00
635953   1/2/2020       BLUE CROSS - NATION was bi104 l l      INSBILLED   2001010000      RR                0.00
639884   12/19/2019     LACOMBE, MONICA                104ll   CCPMT       2001010000      RR             -281.25
639885   12/19/2019     Adjustment                     10411   CASHADJ     2001010000      RR             -168.75
                                                                                        Patient Total      $0.00




 Printed on 1/22/2020 12:22:10 PM                                                                        Page 1




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Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 84 of 91 Page ID #:84


  Medical Records, Billing Records
  and/or Radiology Images
                                                                                                       rcu~=-
                                                                                                       " · Unlimited



  February 5, 2019

  Dear Ladies and Gentlemen:

  Enclosed is the information you requested from one or more of the following facilities:

      •    Southwest Healthcare System
      •    Inland Valley Medical Center
      •    Rancho Springs Medical Center
      •    Temecula Valley Hospital

  One or more of the following items may be enclosed:

      •    Medical records printed on paper or as a password protected PDF file on a disc. If you received
           medical records on a disc, the password was sent to you in a separate letter via First Class U.S.
           Mail and may be delayed 1 to 2 business days.
      •    Billing records printed on paper.
      •    Radiology images on a computer disc. The instructions for viewing the images are on a label on
           the back of the disc envelope. A password is not needed to view the images.
      •    A copy of your original request submitted to the facility.
      •    An invoice for the fees to produce the information you requested. The invoice shows the costs
           to produce your request, a credit for any deposit you made and any outstanding balance due.
           If you have an outstanding balance, we appreciate prompt payment to keep your account in
           good standing.

 If you have any questions or would like additional information regarding this request, please contact our
 staff at (951) 696-6013, option 3 and we would be happy to assist you.

 Best regards,
 Management Consultants Unlimited
 Release of Information on Behalf of
         Southwest Healthcare System
         Inland Valley Medical Center
         Rancho Springs Medical Center
         Temecula Valley Hospital
 Telephone: (951) 696-6013, option 3
 Fax: (951) 600-4363




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 recipient. If the reader of this information is not the intended recipient, or employee or agent responsible for the delivery of this
 information to the intended recipient, you are hereby notified that this is not a waiver of privilege and any dissemination,
 distribution or copying of this information is strictly PROHIBITED. If you have received this information in error, please
 immediately notify the sender by telephone to arrange for return or destruction of the document(s).

 The documents accompanying this communication contain confidential health information that is legally privileged. This
 information is intended only for the use of the individual or entity named above. The authorized recipient of this information is
 prohibited from disclosing this information to any other party unless required to do so by law or regulatlon and is required to
 destroy the information after its stated need has been fulfilled.

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Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 85 of 91 Page ID #:85




             STIPP LAW FIRM
             PERSONAL IN JUHY I El.DER AB USE



      Sent via U.S. Mail

      January 22, 2019

      Temecula Valley Hospital
      Release of Information
      25500 Medical Center Drive
      Temecula, Ca 92562

              Re:     Client                   : Monica Lacombe
                      DOB                      : 4/28/1969
                      DOI                      : 7/22/2018

       Dear Custodian of Records:

           This firm hac;; been retained by Monica Lacombe, in connection with the injuries sustained
      from a MVA on 7/22/20 I 8.

           Please provide copies of all billing records relating to any and al I treatment of our client
       Monica Lacombe beginning July 22, 201 8 through present.

            Enclosed you wi ll find a HIPAA Compliant Authorization for the Release of Health Records.
       Of course, we will happi ly reimburse your office for all copying costs.

            Please send all available records via emai l to: ja.ke@stipplawfirm.com; via fax to: (760) 994-
       0563, or via mail. Please do not hesitate to contact me if you have any questions.

                                                               Sincerely,

                                                               ¥JPI\LA W FI      t




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              JACOB L. STIPP, ESQ.         JAKE@STI PPLAWFIRM.COM              STIPPLAWFIRM.COM

CARLSBA D                                               TEME CULA
2333 STATE STREET, STE. 205
CARLSBAD, CA 92008
                               T: (760) 994-0480
                               F: (760) 994 -0563   I   28693 OLD TOWN FRONT STREET, STE. 300
                                                        TEMECULA, CA 92590
                                                                                                T: (951) 223-1340
                                                                                                F: (760) 994-0563




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    Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 87 of 91 Page ID #:87

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 TEMECULA VALLEY HOSPITAL           PHONE 855-339-8840              PG#   1
 P.O. BOX 740220                               TID#                              DATE: 01/28/19
 LOS ANGELES         CA    90074-0220          FC: P             PT:   T         ACCT TYPE: 0
-------------·-----------------------------------------------------------------
PATIENT NAME: LACOMBE ,MONICA             PATIENT NUMBER:
ADMIT DATE: 07/22/18 DISCHARGE DATE:                               BIRTH DATE:     04/28/1969
GUAR: LACOMBE                        MONICA                      ACCOUNT BALANCE:        1588.00
INFO 44676 SPRINGVAIL CT
                                                                 PATIENT BALANCE:        1588.00
      TEMECULA                            CA     925921865
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 DATE DESC/QTY       SVC CD INS1: Il7    INS2:        INS3:        PATIENT
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 072218    1 32     XR WRIST 53217303     538.00     0.00     0.00      0. 0.0
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    Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 88 of 91 Page ID #:88


 TEMECULA VALLEY HOSPITAL             PHONE 855-339-8840         SUMMARY PAGE:#   1
 P.O. BOX 740220                      TID#                           DATE: 01/28/19
 LOS ANGELES      CA 90074-0220       FC:          PT:               ACCT TYPE: 0
PATIENT NAME: LACOMBE ,MONICA                  PATIENT NUMBER:     72077662
ADMIT DATE: 07/22/18 DISCHARGE DATE:                    BIRTH DATE: 04/28/1969
GUAR: LACOMBE                  MONICA                 ACCOUNT BALANCE:         1588.00
INFO 44676 SPRINGVAIL CT
                                                      PATIENT BALANCE:         1588.00
      TEMECULA                       CA   925921865
TOTAL CHARGES:       3999.00    INS1: Il7         .00 INS2:
                                INS3:                  INS4:
--------------------------------TOTAL AMT:------INSURANCE:---------PATIENT:---
   1      PAYMENTS                     -17.00          0.00          -17.00
   2      ADJUSTMENTS               -2394.00       -3999.00         1605.00
   3      RADIOLOGY                   1910.00       1910.00            0.00
   4      EMERGENCY ~ROOM             2089. 00      2089. 00           O. 00




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Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 89 of 91 Page ID #:89




                  EXHIBIT F




                  EXHIBIT F

                                      89
Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 90 of 91 Page ID #:90


  From:            Monica La Combe
  To:              Jacob Stipp
  Subject:         Fwd:
  Date:            Tuesday, January 14, 2020 3:19:08 PM




  Cost of care estimate
  Hip Hop Snob | Yoga Enthusiast | My kid’s mom


  From: Cameal Johnson <cameal@siosd.com>
  Sent: Tuesday, January 14, 2020 2:54:34 PM
  To: monica.lacombe@live.com <monica.lacombe@live.com>
  Subject:

  Hello,

  I was able to contact your insurance today for your surgical out of network benefits. Per your
  insurance you have not met anything towards your $3400.00 out of network deductible so you
  would be responsible for 100% for surgery at this time.

  Artificial disc replacement C6-7 estimate $2,142.07
  Anterior cervical discectomy and fusion C6-7 estimate $3,467.04

  Please note this is only and estimate and does not include hospital or anesthesia services.
  Thanks
  CJ Johnson
  Surgery Scheduler for:
  Ramin Raiszadeh, MD
  6719 Alvarado Road, Ste. 308
  San Diego, CA 92120
  619.265.7912 x3 Main
  619.229.5396 Direct
  619.265.7922 Fax

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  nation's leading center for minimally invasive treatment of spinal disorders. This email
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  only for the use of the individual or entity named above. The authorized recipient of this
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  you are not the intended recipient, any disclosure, copying, distribution or action taken in
  reliance on the contents of this email transmission is prohibited. If you have received this
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  appreciate your efforts in helping us protect our patient's confidential information.
  DISCLAIMER: We are here to help with your medical condition. However, any medical
  advice dispensed in this e-mail is not an official medical opinion because we have not
  performed an in-person history and examination. If you need specific medical advice,
  please make an office appointment or in case of an emergency please call 911.



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Case 5:20-cv-02486-JGB-SHK Document 1 Filed 11/30/20 Page 91 of 91 Page ID #:91



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  in error, please notify the sender immediately and delete this information. We appreciate your
  efforts in helping us protect our patient's confidential information. DISCLAIMER: We are
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  mail is not an official medical opinion because we have not performed an in-person history
  and examination. If you need specific medical advice, please make an office appointment or in
  case of an emergency please call 911.




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